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                         OHANA GROWTH PARTNERS, LLC                         IN THE

                                                Plaintiff,                  CIRCUIT COURT

                               vs.                                          FOR

                         RYAN DILLON-CAPPS                                  BALTIMORE COUNTY

                                                Defendant.                  CASE NO: C-03-CV-24-002264


                      REPLY TO OPPOSIDON TO DEFENDANT'S MOTION FOR EXPEDITED DISCOVERY

                             Defendant, Ryan Dillon-Capps ("Defendant" or "Dillon-Capps" or "RDC"), hereby

                     replies to the Plaintiff Opposition to the Defendant's Motion for Expedited Discovery (the

                     "Opposition") filed by Miles & Stockbridge, PC ("M&S") on behalf of the Plaintiff, Ohana

                     Growth Partners, LLC ("Ohana" or "OGP") and states as follows:


                                                         I INCORPORATED HEREIN
                     I       Ryan Dillon-Capps incorporates and adopts by reference all factual averments,

                     arguments, and documents contained in all of the Defendant's motions, affidavits, petitions,

                     notices, amendments, exhibits, and other papers filed or submitted in this case, regardless of their

                     current status (pending, denied, granted, or otherwise), pursuant to Md. Rule 2-303(d)

                     ("Statements in a pleading or other paper of record may be adopted by reference in a different

                     part of the same pleading or paper ofrecord or in another pleading or paper of record."). This

                     incorporation includes, but is not limited to, any filings made contemporaneously with or

                     subsequent to this motion, ensuring that all submissions are considered as part of the record for

                     purposes of this proceeding, in real time.



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                     2        3 Reservation of Rights: The Defendant reserves the right to amend, withdraw, or

                     exclude any specific filing, document, or factual averment from this comprehensive

                     incorporation at any point, by submitting a formal notice or motion to the Court.


                                                               Il INIRODUCTION
                     3        Since the commencement of this matter on June 14, 2024, Ohana and M&S have pursued

                     a lawsuit which the U.S. Supreme Court and MD Appellate courts would deny the claim of

                     equitable injunctive relief for. Richard Hartman' s tells the court in his Affidavit from June 14,

                     2024, on page 4:

                         "Dillon-Capps claimed that Ohana's efforts to regain control of its own systems, MS 365 Account
                         somehow amounts to retaliation against Dillon-Capps for requesting family and medical leave"
                     4        The Plaintiffs Opposition to Defendant' s Motion for Expedited Discovery is cut from the

                     same cloth. In it Ohana asks the Court to forget that this is still a lawsuit to which relief can not

                     be granted under the "unclean hands Doctrine," and nothing in the Opposition presents

                     arguments to establish a lawful basis for this lawsuit.

                     5        The only causes of action pending before the Court in this matter are as follows:

                              I.      Add Steven Frenkil as counsel on record, Frenkil, has been listed in the system as

                              a contact for the lawsuit since the commencement of action, included on all

                              communications between parties, and was named as a representative in negotiations.

                              2.      Add Holly Butler as counsel on record, Butler has been representing Ohana in

                              opposition to RDC since December 2023 under the false pretense of performing a Fraud

                              Investigation.




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                              3.      Impose Sanctions on Ohana and M&S, their pursuit of the baseless claim has

                              included fraud, abuse of the judicial system, obstruction, conspiracy to commit fraud ,

                              filing perjured statements, and several more reasons for sanctions.

                              4.      Disqualify M&S and bar them from ever representing Ohana or representing any

                              party in litigation where Dillon-Capps is involved.

                              5.      Forward court findings to the BAR for review ofM&S.

                              6.      Dismiss the lawsuit with Perjury and bar any party from engaging in another

                              frivolous lawsuit from the events leading up to or since the commencement of action.

                              7.      Grand reciprocal relief that includes reciprocal relief that they were seeking as

                              their costs and the $2500 per day fine in reciprocal relief that was being imposed on an

                              individual per day basis against an invalid claim for relief that was ruled on in the same

                              hearings that the Supremacy Clause was dismissed and arguments to it were prohibited.

                     6        Miles & Stockbridge is correct that a baseless lawsuit is one defined by a lawsuit to

                     which there can be no relief granted. Yet, it is still being pursued after 4 months, and it is

                     frustrating that 15 years of work has been irrevocably damaged, Dillon-Capps has been

                     irrevocably harmed physically and financially, and the pursuit of the lawsuit continues to incur

                     additional emotional, physical, and financial harm to the Defendant.

                     7        The U.S. Supreme Court and the Maryland Appellate Courts agree with the Defenses

                     position that this lawsuit is beneath consideration, worthless, and those individuals involved are

                     deserving of scorn because they have ruled time and time again for over 70 years that there can

                     be no equitable relief of any kind, including injunctive relief, for those who come with unclean

                     hands.


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                                                        m NO BASIS FOR LAWSUIT
                                                                    FMLALAW

                     8        Under 29 U.S.C. § 2615(a)(l), it is unlawful for any employer to "interfere with, restrain,

                     or deny the exercise of or the attempt to exercise" any FMLA rights. This means that employers

                     are prohibited from interrupting or denying an employee' s FMLA leave once it is granted .

                     9       29 C.F.R. § 825.220 reinforces this, stating that employers cannot interfere with, restrain,

                     or deny employees the rights provided by FMLA. Any effort to discourage an employee from

                     using FMLA leave also constitutes interference.

                     10      29 U.S.C. § 2615(a)(2) specifically prohibits employers from retaliating against

                     employees for taking FMLA leave. This includes actions such as demotion, job elimination, or

                     imposing excessive work expectations during or immediately following FMLA leave


                                                       UNCLEAN HANDS DOCTRINE

                     11      Under the "unclean hands" doctrine, the affidavit containing the admission of

                     violating FMLA leave rights effectively bars Ohana Growth Partners, LLC from obtaining

                     relief. This doctrine prohibits any party from seeking equitable relief if they have engaged in

                     fraudulent or bad-faith conduct related to the issue at hand.

                     12       Keystone Driller Co. v. General Excavator Co., 290 U.S. 240 (1933):

                     The U.S. Supreme Court held that a party seeking relief in equity must come with "clean hands."

                     In this case, Keystone ' s prior misconduct related to suppressing evidence affected the equitable

                     relief sought, and the court denied the claim. More Specifically, the U.S. Supreme Court denied

                     INJUNCTIVE RELIEF because of unclean hands.


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                     Opinion by Justice George Sutherland:

                          "The equitable powers of this court can never be exerted on behalf of one who has acted

                          fraudulently, or who by deceit or any unfair means has gained an advantage.

                           "He who comes into equity must come with clean hands, or he will be denied relief "

                     13        Precision Instrument Mfg. Co. v. Automotive Maintenance Machinery Co., 324 U.S. 806

                     (1945):

                     The Supreme Court reaffirmed that a party with unclean hands should not be entitled to equitable

                     relief. Precision Instrument' s fraudulent conduct regarding patents barred them from enforcing

                     the patents. Once again, the form of relief denied was INJUNCTIVE RELIEF and they were

                     denied because of unclean hands.

                     Opinion by Justice Hugo Black:

                           "A court of equity acts only when and as conscience commands; and if the conduct of the

                          plaintiff be offensive to the dictates of natural justice, then whatever may be the rights he

                          possesses and however unqualified may be the right asserted by him, he will be held

                          remedi/ess in a court of equity. "

                           "The equitable powers of the court can never be exerted in behalf of one who has acted

                          fraudulently or in bad faith relative to the matter in which he seeks relief "

                     14        Smith v. Cessna Aircraft Co., 124 F .3d 1419 (11th Cir. 1997):

                     This case emphasized that the unclean hands doctrine is a defense to both equitable and certain

                     legal claims if the plaintiffs conduct is directly related to the subject of the lawsuit. The 11 th




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                     Circuit Court of Appeals went so far as to explicitly say that INJUNCTIVE RELIEF is a form

                     of equitable remedy, and unclean hands is grounds for denying this relief.

                     Opinion by Judge Gerald Bard Tjoflat:

                           "The doctrine of unclean hands precludes a plaintifffrom obtaining relief in equity if the

                          plaintiffs own conduct has been inequitable. "

                           "Injunctive relief is an equitable remedy, and the court will deny such relief to parties with

                          unclean hands. "


                                                             SUPREMACY CLAUSE

                     15      Federal courts hold supremacy in interpreting federal law and the U.S. Constitution,

                     which state courts are bound to follow under the Supremacy Clause of the U.S. Constitution

                     (Article VI, Clause 2).

                     16       U.S. Constitution, Article VI, Clause 2 (Supremacy Clause):

                          "This Constitution, and the Laws of the United States which shall be made in Pursuance

                          thereof; and all Treaties made, or which shall be made, under the Authority of the United

                          States, shall be the supreme Law of the Land; and the Judges in every State shall be bound

                          thereby, any Thing in the Constitution or Laws of any State to the Contrary

                          notwithstanding. "

                     17       This clause establishes that federal law is supreme over conflicting state laws, and state

                     courts must follow federal law when applicable.

                     18       Martin v. Hunter's Lessee, 14 U.S. 304 (1816):



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                     The U.S. Supreme Court, in an opinion by Justice Joseph Story, held that state courts are

                     obligated to follow the decisions of the U.S. Supreme Court on matters of federal law. The

                     ruling reinforced the principle that state courts are part of the federal judicial system when

                     interpreting federal laws.

                     Opinion of Justice Joseph Story:

                          "The Constitution of the United States was designed for the common and equal benefit of all

                          the people of the United States; and ... the judicial power was granted for the same benign

                          and salutary purposes. "

                     19       Cooper v. Aaron, 358 U.S. 1 (1958):

                     The U.S. Supreme Court reaffirmed the supremacy of federal law over state law, stating that

                     state courts and officials are bound by the Court's interpretation of the Constitution.

                     Per Curiam Opinion:

                     "Article VI of the Constitution makes the Constitution the 'supreme Law of the Land. ' In 1803,

                     Chief Justice Marshall, speaking for a unanimous Court, referring to the Constitution as 'the

                     fundamental and paramount law of the nation, ' declared in Marbury v. Madison that 'It is

                     emphatically the province and duty of the judicial department to say what the law is. '"


                                                     MARYLAND APPELLATE COURT

                     20       However, more than four months have passed, during which time permanent physical

                     harm and financial default have occurred-actions taken in direct defiance of the Supremacy

                     Clause.

                     21       Manown v. Adams, 328 Md. 463, 615 A.2d 611 (1992):

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•'




                          In this case, the court stressed that the unclean hands doctrine is meant to protect the judiciary,

                          not the parties involved. The court stated:

                          Opinion of Judge Eldridge: "The doctrine is not for the protection of the parties to a lawsuit, but

                          rather, for the protection of the courts... judicial integrity is endangered when judicial powers

                          are interposed to aid persons whose very presence before a court is the result of some fraud or

                          inequity. "

                          22       Hicks v. Gilbert, 135 Md. App. 394, 762 A.2d 986 (2000):

                          The court affirmed the application of the unclean hand's doctrine, explaining that:

                          Opinion of Judge Eyler: "The doctrine refuses to recognize or provide relieffrom the court for

                          those guilty of unlawful or inequitable conduct pertaining to the matter in which relief is

                          sought. "

                          23       In re Estate of Robert H. Watkins, Jr., No. 2612, 2019 Md . App.:

                          Five years ago - Judge Eyler, supported the Chief Judge of the Orphans' Court, Judge

                          Cartwright, decision to deny injunctive relief because of unclean hands.


                                FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

                          24       Under Maryland Rule 2-322(b)(2) and Federal Rule of Civil Procedure 12(b)(6), a

                          case must be dismissed if the plaintiff fails to state a claim for which relief can be granted . This

                          means the complaint must include sufficient factual allegations to support the legal claim.

                          Simply put, if the plaintiffs complaint does not state a valid legal claim, the case cannot proceed.

                          25       Maryland Case Law: Hoffman v. Stamper, 385 Md. 1, 867 A.2d 276 (2005): The

                          Maryland Court of Appeals reinforced the importance of alleging sufficient facts to support a


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                     cause of action. If a plaintiff fails to provide enough detail in the allegations to support the claim,

                     the case is subject to dismissal under Rule 2-322.

                     26       Federal Case Law: Ashcroft v. Iqbal, 556 U.S. 662 (2009): The U.S. Supreme Court

                     held that a plaintiff must state a "plausible claim for relief" based on facts, not mere legal

                     conclusions. The Court emphasized that a complaint must include enough facts to raise the right

                     to relief above the speculative level.

                     27       Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007): The Court held that mere

                     conclusory statements or speculative claims are insufficient to survive a Rule 12(b)(6) motion.

                     The complaint must include factual content that makes the claim for relief plausible on its face .


                                                        LACK OF LEGAL STANDING

                     28       Standing is a constitutional requirement that ensures a party has a legitimate interest in

                     the case. Without standing, the court lacks jurisdiction, and the case must be dismissed. The

                     plaintiff must show an actual injury that is concrete, traceable to the defendant's actions, and

                     likely to be redressed by the court.

                     29       Maryland Case Law: Sugarloaf Citizens Ass'n, Inc. v. Dep't of Env't, 344 Md. 271 ,

                     686 A.2d 605 (1996): The Maryland Court of Appeals reiterated the importance of standing,

                     noting that a plaintiff must have a direct, personal stake in the outcome of the litigation to

                     proceed with the claim.

                     30       Federal Case Law: Lujan v. Defenders of Wildlife, 504 U. S. 555 (1992): The U.S.

                     Supreme Court outlined the elements of standing-injury in fact, causation, and redressability. If




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                     a plaintiff cannot establish standing, the court is compelled to dismiss the claim, as it lacks

                     subject matter jurisdiction.


                                          NO CLAIM FOR RELIEF WITHOUT LEGAL BASIS

                     31      A claim must rest on a valid legal basis, whether rooted in statutory law, common law,

                     or constitutional law. Ifno recognized cause of action supports the claim, it must be dismissed.

                     32      Maryland Case Law: Shenker v. Laureate Educ., Inc., 411 Md. 317, 983 A.2d 408

                     (2009): The Maryland Court of Appeals dismissed a claim where the plaintiffs failed to allege

                     sufficient facts to support a recognized cause of action. The court noted that a valid legal theory

                     must support the claim for it to proceed.

                     33      Federal Case Law:

                              1.      Conley v. Gibson, 355 U.S. 41 (1957): Although later refined by Twombly, this

                              case originally stated that a complaint should not be dismissed unless it appears beyond

                              doubt that the plaintiff can prove no set of facts in support of the claim that would entitle

                              them to relief. This principle remains a cornerstone of pleading standards.

                              2.      Twombly, 550 U.S. 544 (2007): Reinforced that speculative claims without a

                              legal basis should be dismissed at the pleading stage.


                                                           LACK OF JURISDICTION

                     34       Courts require subject matter jurisdiction to hear a case. If the court lacks jurisdiction,

                     either because the claim falls outside its authority or the plaintiff lacks standing, it cannot

                     provide relief. This is true at both state and federal levels.



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                     35      Maryland Case Law: Thana v. Bd. of License Comm'rs for Charles Coty., Md., 226

                     Md. App. 555, 130 A.3d 669 (2016): The Maryland Court of Special Appeals held that a court

                     must dismiss a case if it lacks jurisdiction, as it cannot grant relief on matters outside its

                     authority.

                     Federal Case Law: Steel Co. v. Citizens for a Better Environment, 523 U.S. 83 (1998): The

                     U.S. Supreme Court held that courts must resolve jurisdictional questions before proceeding to

                     the merits of a case. Without jurisdiction, the court cannot grant any form of relief.


                                                 IV FAillJRE OF LEGAL OBLIGATIONS
                     36      The case at hand reveals a persistent failure by Ohana Growth Partners, LLC to meet

                     their legal obligations under both federal and state law, as well as industry-specific regulations.

                     These failures are central to the claim that Ohana Growth Partners comes before this court

                     with unclean hands, rendering their entire lawsuit frivolous and illegitimate. Both the Affidavit

                     of Legal Obligations and the Affidavit of Bad Faith, along with their supporting exhibits, detail

                     the extent to which Ohana has engaged in unethical, fraudulent, and retaliatory actions that

                     undermine their standing to seek any form of relief in this litigation. These failures demonstrate

                     clear violations of PCI DSS compliance, federal data protection laws, state consumer

                     protection statutes, and contractual obligations, all of which have been willfully disregarded in

                     a scheme to harass and retaliate against the defendant.


                                                 VIOLATIONS OF PCI DSS COMPLIANCE




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                     37      As outlined in the Affidavit of Legal Obligations, Ohana Growth Partners' failure to

                     adhere to PCI DSS v4.0 standards is egregious and intentional. PCI DSS mandates strict

                     compliance with several core requirements, including but not limited to:

                              1.      Requirement 7: Least privilege access controls-ensuring that individuals only

                              have the access necessary for their role.

                             2.       Requirement 10: Logging and monitoring access to systems to prevent

                              unauthorized modifications and security breaches.

                     38      The affidavit confirms that Ohana knowingly violated these requirements by failing to

                     implement proper access controls and by allowing unauthorized individuals to access critical

                     systems. These lapses exposed the company to potential data breaches, putting consumers'

                     sensitive payment information at risk. Under Maryland's Personal Information Protection

                     Act (PIPA) (Md. Code Ann. Com. Law§ 14-3503(a)), businesses are legally obligated to secure

                     personal data. Ohana's disregard for these obligations not only violates PCI DSS but also

                     Maryland state law, further disqualifying them from seeking any relief based on equitable

                     grounds.


                          UNLAWFUL DELEGATION OF ROLES AND SECURITY MISMANAGEMENT

                     39       The Affidavit of Bad Faith highlights specific instances where Glenn Norris, Ryan

                     Brooks, and Richard Hartman unlawfully delegated critical IT security roles without following

                     established security protocols. These actions not only breached internal policies but violated

                     Maryland Criminal Law§ 7-302(c), which prohibits the misuse of authorized access to

                     computer systems. Ohana Growth Partners' management knowingly violated these laws by


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                     refusing to provide clear instructions or justification for accessing key systems, all while

                     retaliating against the defendant for upholding proper security standards.

                     40       Such blatant disregard for least privilege principles and unauthorized access to critical

                     systems directly violated state and federal laws, including the Computer Fraud and Abuse Act

                     (CFAA) and the Gramm-Leach-Bliley Act (GLBA). This misconduct clearly demonstrates

                     unclean hands, making any injunctive relief obtained by Ohana Growth Partners inherently

                     unjust and void.


                              BREACH OF CONTRACT AND FAILURE TO COMPLY WITH LEGAL

                                                                    OBLIGATIONS

                     41       The Affidavit of Legal Obligations and Affidavit of Bad Faith provide ample evidence

                     that Ohana Growth Partners has continuously failed to meet their contractual obligations,

                     specifically under the Franchise Disclosure Documents (FDD) and other legally binding

                     agreements. The affidavits show how PCI DSS v4 compliance requirements were willfully

                     ignored, placing the company in breach of both federal and state laws regarding data security.

                     42       Moreover, Ohana's claim for injunctive relief is based on incomplete and fraudulent

                     documentation. As the affidavits note, the contract presented by Ohana is missing critical

                     sections, rendering it unenforceable under Maryland contract law. Without a valid contract or

                     evidence of actual harm, Ohana's lawsuit has no merit and was initiated in bad faith.


                                                RETALIATION AND ABUSE OF PROCESS

                     43       Both affidavits make clear that this lawsuit is not about protecting legitimate business

                     interests but is part of a sustained effort to retaliate against the defendant for exposing
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                     accounting irregularities and security violations. Richard Hartman and Glenn Norris's actions,

                     detailed in the affidavits, show a pattern ofretaliation following the defendant's FMLA leave, in

                     direct violation of federal law (29 U.S.C. § 2615(a)(2)) and Maryland state law.

                     44       Ohana Growth Partners has used the court system as a tool of harassment, engaging in

                     bad faith litigation without substantial justification. As noted in Garcia v. Folger Pratt

                     Development, Inc., 155 Md. App. 634, 678 (2004), bad faith exists where a party litigates for

                     the purpose of harassment or delay. Ohana' s behavior falls squarely within this definition, as

                     their claims are not only unsupported by the facts but are also contradicted by their own

                     documentation and the testimony of their representatives.


                                    WHISLEBLOWERAND THE UNCLEAN HANDS DOCTRJNE

                     45      The unclean hands doctrine is a well-established principle in both Maryland and federal

                     courts, preventing a party from seeking relief when they have acted unethically or in bad faith. In

                     Manown v. Adams, 328 Md. 463 (1992), the Maryland Court of Appeals affirmed that equitable

                     relief is barred when the party seeking it has engaged in fraudulent or improper conduct related

                     to the case. Ohana's actions-including their failure to comply with PCI DSS,

                     misrepresentation of facts to the court, and retaliation against a whistleblower---clearly

                     demonstrate unclean hands.

                     46       Similarly, in Keystone Driller Co. v. General Excavator Co., 290 U.S. 240 (1933), the

                     U.S. Supreme Court held that injunctive relief is not available to a party who has acted

                     fraudulently. Ohana's entire lawsuit is based on misrepresentations, and their failure to disclose




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                     material facts regarding administrative control and access to critical systems invalidates any

                     claim for injunctive relief.


                                              MARYLAND CRIMINAL LAW VIOLATIONS

                     47      In addition to the egregious violations of PCI DSS standards and federal laws, Ohana

                     Growth Partners, LLC and its representatives have breached multiple Maryland state laws,

                     further supporting the argument for dismissal and severe sanctions. These violations extend

                     beyond security failures, involving fraudulent practices, misrepresentation, and the deliberate

                     obstruction of legal and regulatory compliance efforts. The following Maryland laws provide

                     clear legal grounds for criminal liability and civil penalties, while also reinforcing the application

                     of the unclean hands doctrine to disqualify Ohana from seeking relief.


                     FAILURE TO IMPLEMENT REASONABLE SECURITY PROCEDURES (MD.
                     CODE, COM, § 14-3503(]3}}
                     48       Under Md. Code, Com.§ 14-3503(b), businesses in Maryland are required to implement

                     and maintain reasonable security procedures to protect the personal information of their clients

                     and customers. For companies like Ohana Growth Partners, this obligation specifically

                     includes adherence to PCI DSS v4 standards, which are industry-mandated regulations for

                     safeguarding cardholder data. Despite these legal obligations, Ohana knowingly and willfully

                     violated critical PCI DSS requirements, failing to secure sensitive data, allowing unauthorized

                     system access, and refusing to maintain proper security protocols.

                     49       Violation: Ohana' s failure to implement reasonable security measures as required by §

                     14-3503(b) places them in direct violation of Maryland law. The company's failure to secure

                     personal information and protect it against unauthorized access underscores their unclean hands

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                     in this litigation. Their persistent refusal to comply with security requirements makes their entire

                     lawsuit frivolous and malicious, further justifying dismissal with prejudice and severe

                     sanctions.


                     DECEPTIVE TRADE PRACTICES - MISREPRESENTATION OF COMPLIANCE
                     CMD, CODE, COM. § 13-301C2ll
                     50       Md. Code, Com. § 13-301(9) prohibits deceptive trade practices, which include

                     making false or misleading statements about compliance with legal or industry standards. Ohana

                     Growth Partners has engaged in exactly this type of deception by falsely claiming compliance

                     with PCI DSS standards while simultaneously demanding actions that directly violate those

                     standards. By requiring system administrators to implement security practices that contradict

                     established PCI DSS protocols, Ohana misrepresented their compliance with critical data

                     protection regulations.

                     51       Ohana's conduct constitutes a clear violation of§ 13-301(9) by falsely representing their

                     adherence to PCI DSS while engaging in practices that undermine those very standards. These

                     deceptive practices further support the application of the unclean hands doctrine, as Ohana has

                     not only misled the court but has also engaged in fraud against regulators and the public. This

                     deceitful conduct provides further grounds for dismissal and sanctions, including referral for

                     civil penalties under Maryland consumer protection laws.


                     EXCEEDING AUTHORIZED ACCESS TO COMPUTER SYSTEMS CMD. CODE
                     ANN., CRIM. LAW§ 7-302)
                     52       Md. Code Ann., Crim. Law§ 7-302 prohibits accessing or using computer systems

                     beyond the scope of one's authorized access, particularly when done to facilitate fraud or

                     obstruct compliance. While Glenn Norris and Ryan Brooks maintain ownership of Ohana

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                     Growth Partners, this ownership does not grant them the right to override security protocols or

                     engage in actions that violate legal obligations. Norris' s refusal to answer direct questions about

                     requested system access, and his deliberate interference with compliance efforts, made it legally

                     impossible for Ohana Growth Partners to meet PCI DSS requirements. This conduct violates § 7-

                     302 by exceeding authorized access for fraudulent purposes.

                     53        By knowingly exceeding authorized access and preventing the company from complying

                     with PCI DSS standards, Glenn Norris and Ryan Brooks violated Md. Code Ann., Crim. Law

                     § 7-302. Their actions not only undermine the integrity of the business' s security systems but

                     also represent a breach of criminal law. These actions reinforce Ohana' s unclean hands,

                     supporting the argument that the court should dismiss this case with prejudice, impose severe

                     sanctions, and refer the matter to law enforcement for potential criminal prosecution.


                     CONCLUSION: SYSTEMIC VIOLATIONS OF MARYLAND LAW
                     54        The actions of Ohana Growth Partners, LLC, particularly involving unauthorized access,

                     misrepresentation, and failure to comply with mandated security standards, represent systemic

                     violations of Maryland criminal and consumer protection laws. Their conduct breaches Md.

                     Code, Com.§§ 14-3503(b) and 13-301(9), as well as Md. Code Ann., Crim. Law§ 7-302, by

                     exceeding authorized access for fraudulent purposes. These breaches of legal obligations

                     demonstrate Ohana' s unclean hands, which disqualify them from seeking any form of equitable

                     relief.

                     55        In addition to violating Maryland law, Ohana's actions constitute clear bad faith

                     litigation. The affidavits detail a pattern of malicious and frivolous litigation, with fraudulent

                     claims, retaliatory conduct, and violations of state and federal laws reflecting an ongoing abuse


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                     of process. Under Maryland Rule 1-341, severe sanctions are warranted to hold Ohana

                     Growth Partners and their counsel, Miles & Stockbridge, accountable for their intentional

                     misconduct.

                     56       Given the egregious nature of these actions, the court should take the following steps to

                     ensure justice is served and the integrity of the judicial process is upheld:

                              1.      Dismiss this case with prejudice, as Ohana's unclean hands and bad faith

                              render their claims meritless.

                              2.      Impose severe sanctions, including monetary penalties, to deter further abuse of

                             the legal process.

                              3.      Consider a referral for criminal investigation based on violations of

                              Maryland's criminal statutes.

                     57       These actions are necessary to address Ohana's grievous misconduct and to prevent

                     further misuse of the courts. The unclean hands doctrine unequivocally bars them from seeking

                     any relief, and continuing this lawsuit would only reward their malicious and frivolous tactics.


                                                V ENIHUSIASTIC LEGAL COMPLIANCE
                     58       Ohana Growth Partners, LLC has repeatedly alleged that Ryan Dillon-Capps refused

                     to comply with company directives, particularly regarding the transfer of administrative access to

                     its IT systems. However, these allegations are demonstrably false and misrepresent the actual

                     events. The affidavits provided in support of Dillon-Capps' defense-Affidavit of Legal

                     Obligation, Affidavit of Bad Faith, Affidavit of Unauthorized Contractual Modifications,

                     and Affidavit of Plaintiff's Abusive Use of the Judicial System-collectively establish that

                     Dillon-Capps acted in full good faith and complied with all legal obligations, security


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                     standards, and contractual duties to the extent possible within the constraints placed upon him by

                     Ohana's own failure to act in good faith.


                                    COMPLIANCE WITH PCI DSS AND SECURITY PROTOCOLS

                     59       A key element of Dillon-Capps' compliance stems from his role as PCI Compliance

                     Officer. His actions were in strict adherence to PCI DSS v4 standards, which are not merely

                     guidelines but are codified as legal obligations under Md. Code, Com.§ 14-3503(b). This law

                     mandates the implementation of reasonable security procedures-procedures that Dillon-

                     Capps was tasked with upholding, including the least privilege access controls outlined in PCI

                     DSS Requirement 7. When Glenn Norris refused to answer basic questions such as, " What is

                     the access for?" it rendered it impossible for Dillon-Capps to grant unrestricted access without

                     violating PCI DSS requirements. Ohana's failure to provide necessary information

                     constituted estoppel, as detailed in the affidavits, thereby blocking Dillon-Capps from fulfilling

                     the request.


                                        GOOD FAITH EFFORTS AND SOLUTIONS PROVIDED

                     60       Despite Ohana's refusal to provide clear instructions or necessary details, Dillon-Capps

                     made multiple good faith attempts to accommodate their requests. These efforts are

                     meticulously documented in the Affidavit of Plaintiffs Abusive Use of the Judicial System.

                     On June 7, 2023, Dillon-Capps even proposed a solution that would grant Justin Drummond

                     the necessary access without compromising PCI DSS standards. Instead of acting in good faith,

                     Ohana canceled meetings, refused to communicate, and created an environment of escalating

                     hostility.
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                     61      Further, Dillon-Capps was in full compliance with the Franchise Disclosure

                     Documents (FDD), which also mandate adherence to PCI standards. Any alleged failure to

                     provide access was not due to Dillon-Capps' refusal, but rather due to Ohana's deliberate

                     obfuscation and manipulation of the process. This is confirmed in the Affidavit of

                     Unauthorized Contractual Modifications, where the evidence shows that Ohana attempted to

                     enforce incomplete contracts while simultaneously ignoring PCI compliance and contractual

                     obligations.


                               LEGAL FRAMEWORK FOR REFUSAL OF UNLAWFUL REQUESTS

                     62       Ohana's claims hinge on the false premise that Dillon-Capps refused access. However,

                     Maryland law provides strong protections for individuals who are required to refuse unlawful or

                     improper directives. Under Md. Code, Com. § 13-301(9), it is illegal for a business to engage in

                     deceptive practices, including making requests that conflict with compliance obligations and

                     then claiming non-compliance when those requests are lawfully refused. Ohana's insistence on

                     bypassing PCI requirements, coupled with their subsequent accusations of refusal, falls squarely

                     within the prohibited conduct under this statute.


                                       ESTOPPEL AND FRAUDULENT CONDUCT BY OHANA

                     63       The affidavits also establish that Ohana Growth Partners, through their conduct,

                     engaged in estoppel, barring them from claiming any refusal. On June 12, 2024, Hartman

                     Executive Advisors (HEA) was granted access yet failed to respond to multiple offers from

                     Dillon-Capps to finalize the process. Ohana's refusal to engage demonstrates bad faith and



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                     malicious intent to fabricate a refusal. This fraudulent conduct aligns with the principles of

                     estoppel, preventing them from seeking relief for actions they willfully obstructed.


                           COMMITMENT TO LEGAL OBLIGATIONS AND ACCESS COMPLIANCE

                     64      Contrary to Ohana's false narrative, Dillon-Capps has demonstrated enthusiastic legal

                     compliance. His role required strict adherence to both PCI DSS and company policy, and his

                     actions reflect a commitment to legal obligations-a stark contrast to the retaliatory and bad

                     faith litigation engaged in by Ohana Growth Partners. This enthusiastic compliance, well-

                     documented in affidavits, serves as a strong counter to any claims of refusal. It proves that

                     Ohana's litigation is based on fraudulent allegations, as Dillon-Capps consistently provided

                     lawful alternatives and engaged in good faith efforts to meet PCI DSS and contractual

                     standards.


                           CONCLUSION: OHANAAND MILES & STOCKBRIDGE'S LAWSUIT IS A

                                                                    CONFESSION


                     65      The lawsuit filed by Ohana Growth Partners, LLC, and their counsel, Miles &

                     Stockbridge, is nothing more than a repackaging of their own legal and ethical violations.

                     Their claims of breach of contract and failure of duty are, in fact, confessions of how they

                     themselves have violated numerous contracts and failed in their duty to protect the sensitive data

                     of Maryland residents. By falsely accusing Ryan Dillon-Capps of misconduct, they are

                     attempting to deflect from their own misrepresentation of PCI DSS compliance and their

                     deliberate actions to undermine it.


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                     66      Ohana Growth Partners has not only misrepresented their adherence to PCI DSS v4

                     standards, but they have also taken deliberate actions to violate these standards, all while

                     refusing to provide a legitimate answer to the basic question of what the access was for. These

                     violations directly breach their contractual obligations, including those outlined in the Franchise

                     Disclosure Documents (FDD), and also violate their duty to protect customer data under Md.

                     Code, Com.§ 14-3503(b).

                     67      Their lawsuit is a confession of these breaches. By claiming that Dillon-Capps failed in

                     his duties, they are admitting that it was Ohana's own actions that violated both state law and

                     PCI DSS standards. The criminal statute-Md. Code Ann., Crim. Law§ 7-302-is also

                     applicable to them for their unauthorized access and misuse of computer systems. Ohana's

                     failure to comply with their own legal obligations shows that their claims are a sham meant to

                     distract from their own liability.

                     68       Ohana's strategy is clear: they have repackaged their own violations, accusing Dillon-

                     Capps of the very misconduct they committed. By falsely alleging breach of contract and

                     failure of duty, they are attempting to shift blame for their own legal and ethical failu res. This

                     lawsuit is not a legitimate claim, but a fabrication designed to manipulate the court and silence

                     the Defendant before the truth could be heard.

                     69      Throughout the litigation, Ohana and Miles & Stockbridge have taken every

                     opportunity to prevent the Defendant from being heard, spinning a web of lies in an attempt to

                     convince the court that the opposite of the truth has occurred. They have deliberately obstructed

                     access to key information and misrepresented facts to disguise their own non-compliance and

                     fraudulent conduct.


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                     70       The unclean hands doctrine prevents any party from seeking relief when they have

                     acted in bad faith. Ohana's lawsuit is not just a breach of duty and contract, but a confession of

                     their own criminal conduct. Their violation of PCI DSS standards, misrepresentation of

                     compliance, and refusal to answer critical questions about system access clearly fall within Md.

                     Code Ann., Crim. Law§ 7-302 (unauthorized access). By using this lawsuit to deflect attention

                     from their own illegal actions, Ohana has confirmed their unclean hands, disqualifying them

                     from seeking any form of equitable relief.

                     71       This lawsuit is not only baseless but a direct admission of Ohana Growth Partners'

                     own breaches of legal, contractual, and ethical obligations. They have accused the Defendant of

                     exactly what they themselves are guilty of. This court must recognize that Ohana and Miles &

                     Stockbridge's lawsuit is their confession, and therefore:

                              1.      Dismiss this case with prejudice, as Ohana's unclean hands and bad faith

                              make their claims entirely without merit.

                              2.      Impose severe sanctions, including monetary penalties, to deter further abuse of

                              the legal system.

                              3.      Consider a referral for criminal investigation, based on Ohana's violations of

                              Maryland's criminal and consumer protection laws.

                     72       Allowing this litigation to continue would only serve to reward Ohana's malicious and

                     unethical conduct. Their attempts to deflect responsibility through false accusations cannot

                     stand, and the court must take decisive action to uphold justice.


                                        VI    A CASE BUILT ON FALSEHOODS AND PERJURY


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                     73        From the very beginning, the claims brought forward by Ohana Growth Partners,

                     LLC, supported by their counsel Miles & Stockbridge, have been grounded in falsehoods and

                     deliberate misrepresentations. Justin Drummond, President of Ohana, and Richard Hartman

                     have engaged in a pattern of perjury-providing knowingly false statements under oath in an

                     attempt to shift blame onto Ryan Dillon-Capps and obscure Ohana's own violations. The

                     Affidavit of Bad Faith and the Affidavit of Plaintifrs Abusive Use of the Judicial System

                     dismantle these false claims, exposing a malicious strategy aimed at manipulating the court. The

                     following sections detail the key perjurious statements made by Drummond and Hartman, and

                     how these lies form the foundation of Ohana's lawsuit.


                                 JUSTIN DRUMMOND - PRESIDENTIAL PERJURY & ESTOPPEL

                     74        Justin Drummond falsely asserted that Ryan Dillon-Capps failed to provide updates on

                     the request to grant Hartman Executive Advisors (HEA) access to the necessary systems.

                     However, the affidavits make it clear that Dillon-Capps not only provided consistent updates but

                     actively pleaded with Drummond to assist in getting a response from HEA to facilitate access.

                     The Affidavit of Bad Faith shows that Dillon-Capps made every effort to comply with the

                     HEA access request, even going above and beyond his duties by asking for help in resolving the

                     matter.

                     75        Intentional Ignorance: Despite these efforts, Drummond intentionally ignored Dillon-

                     Capps' updates, choosing instead to promote a false narrative of non-compliance. This was a

                     deliberate act to manipulate the court and misrepresent the facts surrounding HEA access,

                     constituting perjury.


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                     FALSE CLAIM OF NO COMPLIANCE FOR HEA
                     76       Drummond further alleged that Dillon-Capps failed to comply with HEA requests.

                     However, text messages from June 13, 2024, reveal that Dillon-Capps was not only in full

                     compliance but was also eager to grant access as demonstrated moment by moment breakdown

                     of the June 13 th text messages in the Deposition Request for Agents of Ohana Growth

                     Partners. Dillon-Capps repeatedly asked Drummond for assistance in reaching HEA to ensure

                     the access was provided. This behavior demonstrates more than compliance-it reflects

                     enthusiastic willingness to comply, which is the opposite of a refusal.

                     77       HEA's Role in Estoppel: The affidavits show that HEA deliberately engaged in

                     estoppel, preventing Dillon-Capps from satisfying their access request. By ignoring Dillon-

                     Capps' communications and refusing to cooperate, HEA created a situation in which compliance

                     was impossible, and Drummond's false claims only served to further this obstruction.


                     FALSE CLAIM OF NON-COMPLIANCE WITH PRESIDENTIAL REQUEST
                     78       Drummond also claimed that Dillon-Capps failed to comply with requests made by

                     company leadership, specifically the President himself. This claim is demonstrably false. Dillon-

                     Capps made documented good faith efforts to comply with these requests, despite Ohana's

                     refusal to provide basic information necessary to lawfully execute his duties.

                     79       June 7, 2024 Solution: On June 7, 2024, Drummond accepted a proposed solution by

                     Dillon-Capps, which would have resolved the access issue. However, Drummond then engaged

                     in estoppel, preventing Dillon-Capps from fulfilling the request. The text message exchanges

                     on June 13, 2024, further reveal that while Dillon-Capps was asking for help to reach HEA,




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                     Drummond never once asked for access during their multi-hour conversation. Instead,

                     Drummond perpetuated the false narrative of non-compliance.


                     PERJURY THROUGH FALSE STATEMENTS
                     80      These false statements made by Justin Drummond are not just misrepresentations but

                     acts of perjury, designed to portray Ryan Dillon-Capps as non-compliant and obstructive. In

                     reality, Dillon-Capps was fully compliant, and it was Ohana Growth Partners that failed to

                     provide the necessary support and infonnation to facilitate compliance. Drummond ' s perjurious

                     claims were calculated to deceive the court and shift the blame for Ohana's violations of

                     security protocols onto Dillon-Capps


                       RICHARD HARTMAN - FALSE CLAIMS REGARDING PERSONNEL RECORDS

                                                            AND SYSTEM ACCESS

                     81      Richard Hartman falsely claimed that Ryan Dillon-Capps severed access to personnel

                     records, implying that Dillon-Capps was obstructing the company' s ability to manage its Human

                     Resources records. However, the Affidavit of Legal Obligations establishes that this claim is

                     categorically false. Hartman, as the administrator of the HRIS system (Paycom), held full

                     administrative control over personnel records. The IT Department, led by Dillon-Capps, had no

                     administrative access to this system. Hartman's statement was not just inaccurate but a

                     deliberate attempt to shift responsibility and mislead the court about who controlled access to

                     these sensitive systems.




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                     FALSE HEA COMPLIANCE CLAIM
                     82       Hartman's claims regarding Hartman Executive Advisors (HEA) compliance were also

                     riddled with falsehoods. He alleged that Dillon-Capps denied compliance with the cease-and-

                     desist order, when, in fact, the documented communication shows that Dillon-Capps was clearly

                     making good faith effort to comply. The Affidavit of Bad Faith reveals that Hartman

                     deliberately misrepresented the context of the messages to frame Dillon-Capps' compliance as a

                     denial. Hartman made no attempt to clarify the situation before losing control in response to the

                     2:05 PM email on June 13, 2024, where he lashed out at an unrelated employee. His actions

                     reflect not only a calculated attempt to deceive but also retaliatory behavior triggered by his

                     own loss of control.


                     FALSE STATEMENT ABOUT ACCESS AT 2:05 PM
                     83       One of Hartman's most egregious perjuries is his claim that he had no email or

                     system access at 2:05 PM on June 13, 2024. The affidavits clearly establish that Hartman had

                     full access to the email system and IT network at that time. His claim of being unable to receive

                     the 2:05 PM email is patently false and was intended to mislead the court regarding his

                     awareness of critical communications. The affidavits further reveal that 15 minutes after the

                     2:05 PM email, Hartman retaliated against another employee, reflecting someone who was not

                     only fully in control but actively engaging in retaliatory actions. His outburst before the 3:00

                     PM deadline, demonstrates a pattern of retaliation and deception .


                     FALSE HYPERLINK CLAIM
                     84       Hartman's perjury extends to his claims regarding a hyperlink that he pieced together

                     from fragments of a quote in an attempt to misrepresent the content of the referenced website.


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                     His manipulation of the quote and the hyperlink was designed to deceive the court into believing

                     the website said the opposite of its actual content. This deliberate misrepresentation is not just an

                     error in interpretation but a willful act of perjury, intended to bolster his false narrative and

                     mislead the court about key facts.


                                 DANIEL LEVETT - EXPERT CONFESSION OF OHANA'S FRAUD

                     85       Throughout this litigation, Ohana Growth Partners, LLC and their counsel, Miles &

                     Stockbridge, have presented a case built on falsehoods and perjurious statements, all in an

                     effort to manipulate the court and hide their own failures. The affidavits of Justin Drummond

                     and Richard Hartman are full of inconsistencies and demonstrably false claims. One critical

                     document-the Affidavit of Daniel Levett-highlights the deception at the heart of this lawsuit.


                     FALSE CLAIMS REGARDING ADMINISTRATOR ACCESS
                     86       A central claim made by Ohana Growth Partners is that they were unable to access

                     their Global Administrator accounts, necessitating the injunctive relief they sought. However,

                     the Affidavit of Daniel Levett directly contradicts this narrative. In his affidavit, Levett

                     confirmed that he was able to work with an existing administrator-the Help Desk Manager-

                     who had full access to the Global Administrator accounts. This completely undermines

                     Ohana's claim that they had no access to their systems and that Dillon-Capps was obstructing

                     them.

                     87       Levett's Admission: Levett inadvertently admitted that Ohana Growth Partners

                     always had access to the accounts through their administrators, proving that the basis for

                     injunctive relief was false. The affidavit reveals that they not only had administrative access but


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                     that they actively used it to verify information on June 26, 2024. Therefore, Ohana's claims of

                     needing court intervention were fabricated .


                     PERJURY AND INCONSISTENT STATEMENTS
                     88      The Affidavit of Daniel Levett is just one example of Ohana's contradictory claims.

                     Throughout the proceedings, Ohana has shifted its narrative-first claiming that there were no

                     administrators, then asserting that Dillon-Capps refused access, only to later confirm that

                     Levett and the Help Desk Manager successfully accessed the necessary accounts. This shifting

                     narrative is further evidence of the perjury and manipulation employed by Ohana Growth

                     Partners to mislead the court.

                     89       Contradiction: At various points in the case, Ohana claimed that different individuals

                     (including Glenn Norris and Richard Hartman) were responsible for controlling the accounts.

                     Yet, when these claims were scrutinized, the evidence showed that the accounts were always

                     accessible, and there was no obstruction by Dillon-Capps .


                     ESTOPPEL AND NO JUSTIFICATION FOR INJUNCTIVE RELIEF
                     90       The Affidavit of Daniel Levett inadvertently supports the legal principle ofEstoppel,

                     which prevents Ohana Growth Partners from seeking relief based on a situation they

                     themselves created. By confirming that the Help Desk Manager had access to the accounts all

                     along, Levett's affidavit proves that Ohana's claim for injunctive relief was baseless.

                     Ohana's refusal to respond to multiple emails seeking to clarify the situation amounts to

                     Estoppel, barring them from obtaining relief for issues they caused by their own inaction.

                     91       Levett's Confession: In the affidavit, Levett unwittingly exposes the fact that Ohana

                     was never locked out of their accounts and could have resolved the matter without court

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                     intervention. This fact discredits their claims for relief, further supporting Dillon-Capps'

                     defense.


                                  THE BROADER PATTERN OF PERJURY AND MANIPULATION

                     92      The false statements made by Drummond and Hartman are not isolated incidents but

                     are part of a broader effort by Ohana Growth Partners and Miles & Stockbridge to distort the

                     facts and manipulate the legal process. The affidavits prove that these individuals knowingly lied

                     under oath, making their testimony an intentional misrepresentation of the truth to gain a legal

                     advantage.

                     93      These actions are clear violations of Maryland's perjury laws (Md. Code Ann., Crim.

                     Law§ 9-101), and their willingness to present false statements to the court further solidifies the

                     unclean hands argument. Ohana' s lawsuit is founded in perjury, and their use of perjured

                     testimony to support their claims disqualifies them from seeking any form of equitable relief.


                                     CONCLUSION: THE ENTIRE LAWSUIT IS BUILT ON LIES

                     94      This lawsuit, constructed on a foundation of perjurious statements from Justin

                     Drummond and Richard Hartman, should not be allowed to proceed. The affidavits presented

                     in this case prove beyond doubt that both individuals deliberately lied under oath to mislead the

                     court, covering up Ohana Growth Partners' own violations of PCI DSS standards, company

                     policies, and legal obligations. These falsehoods were not accidental or minor; they were part of

                     a deliberate campaign to deceive the court and manipulate the legal process in favor of Ohana.

                     95      Justin Drummond falsely claimed non-compliance by Dillon-Capps, despite text

                     messages and communications showing enthusiastic efforts to grant access to HEA. Richard
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                     Hartman falsely asserted that Dillon-Capps severed access to personnel records, and his claims

                     regarding compliance and system access at 2:05 PM on June 13, 2024, were equally perjurious.

                     These false statements are violations of Maryland's perjury laws (Md. Code Ann., Crim. Law

                     § 9-101) and are clear examples of unclean hands.

                     96       The perjury committed by Drummond and Hartman invalidates Ohana's claims and

                     disqualifies them from seeking any form of equitable relief. This lawsuit, based entirely on lies

                     and manipulation, is the epitome of bad faith litigation. As such, the court should:

                              1.      Dismiss the case with prejudice, as Ohana's unclean hands render their claims

                              entirely without merit.

                              2.      Impose severe sanctions, including monetary penalties, to deter future perjury

                              and abuse of the judicial process.

                              3.      Consider a referral for criminal investigation, based on the perjury and fraud

                              committed by Ohana Growth Partners and their representatives.

                     97       Allowing this lawsuit to continue would not only reward Ohana's malicious behavior

                     but would also undermine the integrity of the court. Ohana Growth Partners has used the

                     judicial system as a weapon, but their case-founded in perjury- must be swiftly and decisively

                     rejected.


                    VII OBSTRUCTION, ATIEMPIBD FALSE IMPRISONMENT, CONFLICTING ORDERS,
                                         IIED, AND WTINESS TAMPERING
                     98       The lawsuit pursued by Ohana Growth Partners, LLC, in conjunction with Miles &

                     Stockbridge, has not only been built on perjury but also includes a pattern of obstruction, false

                     imprisonment attempts, and intentional infliction of emotional distress (IIED). Further, actions



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                     taken by Ohana suggest possible witness tampering, all of which contribute to the overall bad

                     faith and unethical conduct in this case.


                                          OBSTRUCTION OF ACCESS TO COURT RECORDS

                     99      The exhibits attached to the affidavits include an email from Robert Brennen, legal

                     counsel for Ohana, which clearly demonstrates obstruction of the Defense's access to court

                     transcripts. In this email, Brennen applied improper conditions to the release of the transcript to

                     the Defense, thereby restricting Ryan Dillon-Capps' ability to access vital records crucial to his

                     defense. This obstruction, as documented in the Affidavit of Bad Faith, was a deliberate attempt

                     to limit the Defense' s access to information, further evidencing bad faith litigation tactics.

                     100     By manipulating access to critical legal documents, Ohana Growth Partners and their

                     counsel have acted in direct opposition to due process rights and have sought to prevent the

                     Defense from adequately preparing for proceedings. Such conduct not only undermines the

                     fairness of the legal process but also demonstrates a deliberate effort to obscure the truth.


                                                   ATTEMPTED FALSE IMPRISONMENT

                     101     The Second Show Cause Order, which included the possibility of incarceration, was

                     issued as part of a baseless and fraudulent lawsuit. The demand for incarceration in a matter

                     lacking legal merit constitutes an attempt at false imprisonment. By pursuing incarceration as a

                     remedy in a frivolous lawsuit, Ohana Growth Partners and Miles & Stockbridge

                     demonstrated a malicious intent to imprison Ryan Dillon-Capps without cause, thereby

                     violating his legal rights.



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                     102       This attempted use of the legal system to unjustly threaten imprisonment, as outlined in

                     the affidavits, is a gross abuse of judicial processes and represents another example of unclean

                     hands on the part of Ohana. The court must recognize that such actions-threatening

                     imprisonment in a case rooted in perjury and deceit--constitute attempted false

                     imprisonment, which is not only unethical but also a violation of Dillon-Capps' constitutional

                     rights.


                                     CONFLICTING ORDERS AND IMPOSSIBLE COMPLIANCE

                     103       The Suspension Letter, Temporary Restraining Order (TRO), and Show Cause

                     Orders issued in this case all demand that Dillon-Capps take actions within the same systems

                     from which he had been prohibited from accessing or using. The contradictory nature of these

                     orders made compliance legally impossible.

                     104       For example:
                               1.     The TRO prevented Dillon-Capps from using specific IT systems while

                               simultaneously demanding that he take actions within those same systems.

                               2.     The Show Cause Orders similarly required compliance in areas where Dillon-

                               Capps had no ability to act due to the TRO's restrictions.

                     105       The result of these conflicting orders was the creation of a legal trap designed to

                     position Dillon-Capps in continuous non-compliance, regardless of his efforts to fulfill court

                     directives. Such legal entrapment is not only a form of procedural abuse but also demonstrates

                     malicious intent to expose Dillon-Capps to punitive actions despite his inability to comply.

                     This is a direct violation of his rights under due process and further underscores the bad faith

                     litigation engaged in by Ohana Growth Partners.

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                                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (IIED)


                     106      The continued pursuit of this fraudulent lawsuit, in combination with the obstruction,

                     attempted false imprisonment, and conflicting orders, has resulted in significant emotional,

                     physical, and financial harm to Ryan Dillon-Capps. The affidavits detail how the relentless

                     pressure, baseless accusations, and threat of incarceration have caused severe emotional trauma.

                     107      Ohana's actions, driven by retaliation and malice, were clearly intended to cause harm

                     to Dillon-Capps. Their goal was not to resolve legitimate business concerns but to punish and

                     harass him for exposing security violations and accounting irregularities within the company.

                     These actions constitute intentional infliction of emotional distress (IIED) under Maryland

                     law, and the court should consider this harm when determining sanctions and other remedies.


                              POTENTIAL WITNESS TAMPERING: RANDAL ROMES' AFFIDAVIT

                     108      The Affidavit of Randal Romes raises significant concerns about witness tampering. In

                     his affidavit, Romes stated that he was provided with a letter to Judge Troffer, which contained

                     no citations to PCI DSS requirements directed at Ohana Growth Partners. This is highly

                     suggestive of tampering, as Romes' affidavit appears to have been influenced or manipulated to

                     reflect a narrative beneficial to Ohana.

                     109      This manipulation of a witness's statement, especially in the context ofcompliance-

                     related issues, points to potential witness tampering. Ohana Growth Partners, by distorting

                     the facts and attempting to influence Romes' testimony, further demonstrates their unclean

                     hands in this litigation. Witness tampering is a serious offense, and the court should carefully

                     review this issue to determine if further investigation is warranted.

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                           CONCLUSION: MALICIOUS LITIGATION DESIGNED TO CAUSE HARM


                     110     The actions taken by Ohana Growth Partners and their counsel Miles & Stockbridge

                     throughout this litigation-including obstruction of access, attempted false imprisonment,

                     conflicting court orders, and possible witness tampering--demonstrate a clear pattern of

                     malicious litigation designed to cause emotional, physical, and financial harm to Ryan

                     Dillon-Capps.

                     111     This lawsuit is not a good-faith attempt to resolve legitimate business disputes but rather

                     an orchestrated effort to abuse the legal system, manipulate court processes, and harass the

                     defendant. These actions are part of a larger scheme to obstruct justice, undermine the truth, and

                     create a false narrative of non-compliance.

                     112     The court must:

                              1.      Dismiss this case with prejudice, recognizing Ohana's bad faith litigation and

                             unclean hands.

                             2.       Impose severe sanctions on Ohana Growth Partners and Miles & Stockbridge

                             for their abusive and unethical conduct.

                             3.       Consider a referral for criminal investigation into the potential witness tampering,

                             obstruction of justice, and attempted false imprisonment committed during the course of

                             this litigation.

                     113     The continued pursuit of this fraudulent lawsuit only serves to harm the judicial process

                     and must be brought to a swift and decisive end.

                   VIII RECIPROCAL RELIEF AND ATTORNEY'S FEES -A PRECEDENT FOR A BETIER
                                                                    MARYLAND
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                     114       In this case, Ohana Growth Partners LLC has employed the judicial system as a

                     weapon, filing a fraudulent lawsuit based on perjury, misrepresentation, and manipulation.

                     Their conduct threatens not only the integrity of this case but also the broader Maryland legal

                     system, which must protect against such abuses. The principle of reciprocal relief not only

                     addresses the immediate harm caused to Ryan Dillon-Capps but also serves a larger purpose:

                     establishing a precedent that deters future fraudulent lawsuits in Maryland. The imposition of

                     reciprocal penalties and attorney' s fees will contribute to a stronger legal system for all

                     Marylanders, safeguarding the courts from being misused by parties acting in bad faith.

                     115       The arguments supporting reciprocal penalties and attorney's fees are derived from both

                     the Memorandum of Law in Support of Reciprocal Penalties and the Memorandum of Law for

                     Reciprocal Attorney's Fees and are amplified by the need for Maryland to set a clear precedent

                     against fraudulent litigation practices.

                     116       In this case, Ohana Growth Partners LLC sought daily penalties and extensive legal

                     fees from Ryan Dillon-Capps based on false claims and bad-faith litigation. However, the

                     evidence presented has clearly demonstrated that Ohana, through its agents and counsel,

                     engaged in fraudulent conduct and abused the judicial process. The principle of reciprocal

                     relief-grounded in equity and fairness-provides a robust framework for ensuring that those

                     responsible for fraudulent lawsuits face the same consequences they sought to impose on

                     others.

                     117       The arguments supporting reciprocal penalties and attorney' s fees are drawn from both

                     the Memorandum of Law in Support of Reciprocal Penalties and the Memorandum of Law




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                     for Reciprocal Attorney's Fees, which together establish the legal and equitable basis for

                     shifting the financial burden onto Ohana Growth Partners and their counsel.


                                      RECIPROCAL PENALTIES FOR BAD FAITH LITIGATION

                     118     As outlined in the Memorandum of Law in Support of Reciprocal Penalties, Ohana's

                     fraudulent claims and bad-faith litigation tactics merit severe penalties. Maryland Rule 1-341

                     grants courts the authority to impose sanctions when a party acts without justification or in bad

                     faith, both of which have been conclusively demonstrated here. Ohana's own IT consultant,

                     David Levett, confirmed that they already had administrative access to the systems in question,

                     yet Ohana proceeded to mislead the court.

                     119      Reciprocal Penalties Doctrine: The court should impose daily penalties on Ohana &

                     M&S, equivalent to those they sought against Dillon-Capps ($2,500 per day). These penalties

                     serve as a necessary deterrent against future bad-faith litigation and ensure that Ohana & M&S

                     bears the financial consequences of their misconduct.


                                                     RECIPROCAL ATTORNEY'S FEES

                     120      The Memorandum of Law for Reciprocal Attorney's Fees further argues that

                     Maryland courts have the authority to award attorney's fees to a prevailing defendant in cases

                     involving fraudulent lawsuits, even in the absence of a specific statute. Ohana's lawsuit-

                     based on perjury, misrepresentation, and procedural abuse--fits squarely within Maryland ' s

                     existing framework for awarding attorney' s fees under Rule 1-341.

                     121      Fraudulent Lawsuits as Abuse of Process: Fraudulent lawsuits are an abuse of the

                     judicial process, and Maryland courts have a strong policy against such behavior. By awarding

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                     reciprocal attorney's fees, the court ensures that Ohana and M&S, not Dillon-Capps, bears the

                     cost of defending against baseless and malicious claims.


                                                   EQUITY AND JUDICIAL EFFICIENCY

                     122     Both memoranda emphasize the need for equity and the protection of judicial efficiency.

                     Allowing Ohana to escape the consequences of their actions would not only be unjust but would

                     also undermine the integrity of the judicial process. Reciprocal relief ensures that Ohana and

                     their counsel, Miles & Stockbridge, are held accountable for their attempts to misuse the court

                     system for retaliatory purposes.


                     CONCLUSION: RECIPROCAL RELIEF AND ATTORNEY'S FEES ARE ESSENTIAL

                     123      Given the overwhelming evidence of Ohana's fraudulent conduct, the imposition of

                     reciprocal penalties and attorney's fees is not only appropriate but necessary to restore fairness

                     and integrity to the legal process. Ohana's bad-faith litigation tactics, including filing false

                     claims and misleading the court, have caused significant financial , emotional, and reputational

                     harm to Dillon-Capps. The court should impose:

                              1.      Daily penalties equivalent to those sought by Ohana ($2,500 per day) as a

                              deterrent against future misconduct.

                             2.       Reciprocal attorney's fees to ensure that Dillon-Capps is not burdened with the

                              costs of defending against a fraudulent lawsuit.

                     124     By holding Ohana Growth Partners and their counsel accountable, the court will send a

                     clear message that bad-faith litigation will not be tolerated, and those who misuse the legal

                     system will face significant consequences.
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                                            IX OVER FOUR MONTI-IS OF CONSEQUENCES

                        RULE 11 SANCTIONS FOR FRIVOLOUS FILINGS: ANCHORED IN UNCLEAN

                                                               HANDSDOCTRINE

                     125     The unclean hands doctrine serves as the foundation of the Defendant's primary

                     argument for dismissal and sanctions. Ohana Growth Partners LLC, through its

                     representatives-most notably Richard Hartman--commenced this litigation with unclean

                     hands, effectively invalidating their claims from the moment this lawsuit was filed . In Richard

                     Hartman's affidavit, he admits on page 4 to violating the Family and Medical Leave Act

                     (FMLA), a federal labor law designed to protect employees from retaliation for taking medical

                     leave. This admission of illegal conduct by Ohana's leadership fundamentally undermines their

                     entire legal standing and renders their claims moot under the doctrine of unclean hands.


                     UNCLEAN HANDS DOCTRINE AS A BAR TO EQUITABLE RELIEF
                     126     The unclean hands doctrine is a well-established principle in both federal and

                     Maryland law, preventing a party from seeking equitable relief when they themselves have

                     acted unethically or in bad faith regarding the issue at hand. Ohana's lawsuit is built on false

                     claims, perjury, and the violation of FMLA rights, disqualify ing them from seeking any form of

                     relief. From the very beginning, Richard Hartman's affidavit reveals a confession of

                     retaliation against Dillon-Capps for requesting family and medical leave, a clear violation of

                     federal law. This admission proves that Ohana's hands were unclean from the outset, making

                     their entire case invalid.

                              1.      Legal Precedent: In Keystone Driller Co. v. General Excavator Co., 290 U.S.

                              240 (1933), the U.S. Supreme Court held that a party cannot obtain equitable relief if

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                             they have acted unethically in relation to the subject of the lawsuit. This principle applies

                             here, as Ohana's FMLA violations disqualify them from seeking relief.

                             2.       Maryland Application: In Manown v. Adams, 328 Md . 463, 615 A.2d 611

                             (1992)**, the Maryland Court of Appeals affirmed that parties with unclean hands are

                             barred from seeking equitable remedies. Hartman's admission ofretaliation violates

                             both FMLA and Maryland labor laws, reinforcing that Ohana's claims should be

                             dismissed.


                     RULE 11 SANCTIONS AMPLIFIED BY UNCLEAN HANDS DOCTRINE
                     127     Building on the unclean hands doctrine, Ohana's subsequent filings over the course of

                     four months were not only frivolous but also submitted in bad faith to harass Dillon-Capps and

                     obscure the fact that Ohana's leadership had already violated federal law. Every document

                     filed in support of their fraudulent claims only serves to compound their unclean hands and

                     further justify Rule 11 sanctions.

                     128     Federal Rule 11 and Maryland Rule 1-311 require attorneys and parties to certify that

                     their filings are grounded in law and fact. Yet, Ohana's filings are based on misrepresentations,

                     including false claims about system access, non-compliance, and administrative actions. These

                     filings are compounded by Richard Hartman's admission of FMLA violations, which alone

                     should have disqualified them from initiating this lawsuit. Each filing adds to a cumulative

                     pattern of frivolous litigation, warranting severe sanctions.

                              1.      Frivolous Filings: Ohana's claims of non-compliance, which form the basis of

                              their lawsuit, are undermined by the very fact that their actions constituted illegal




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                              retaliation. Richard Hartman's admission of FMLA violations invalidates the entire

                              premise of the lawsuit, making every filing frivolous and without merit.

                             2.       Sanctions Sought: Given the frivolous nature of each filing, Ohana and their

                             counsel, Miles & Stockbridge, should be sanctioned under Rule 11 . These sanctions

                              should include monetary penalties, dismissal with prej udice, and referral for further

                              investigation into potential criminal violations, including perjury.


                     THE ROLE OF PERJURY AND BAD FAITH IN STRENGTHENING THE CASE FOR
                     SANCTIONS
                     129      Ohana's bad faith conduct is further evidenced by the perjury committed by Justin

                     Drummond and Richard Hartman, as detailed in the Affidavit of Perjury and Affidavit of

                     Bad Faith. These false statements were made to shift the blame for Ohana's security and

                     compliance failures onto Dillon-Capps, despite the fact that Ohana's leadership had already

                     violated FMLA protections. This pattern of bad faith filings is precisely the type of conduct

                     that Rule 11 sanctions are designed to punish.


                     SANCTIONS SOUGHT UNDER RULE 11 AND UNCLEAN HANDS DOCTRINE
                     130     Because Ohana's lawsuit was fundamentally flawed from its inception due to their

                     unclean hands, the following sanctions are appropriate:

                              1.      Dismissal of all claims with prejudice, as Ohana's violation of FMLA bars

                              them from seeking any equitable relief under the unclean hands doctrine.

                              2.      Monetary penalties for each frivolous filing under Rule 11 and Maryland Rule

                              1-311, imposed on both Ohana and their counsel, Miles & Stockbridge, for knowingly

                              filing false and harassing claims.


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                             3.       Referral for criminal investigation into the perjury and FMLA violations

                             committed by Ohana's representatives, specifically Richard Hartman and Justin

                             Drummond, as their actions involve both fraudulent litigation and violations of federal

                             law.


                     CONCLUSION: UNCLEAN HANDS DOCTRINE DISQUALIFIES OHANA FROM
                     SEEKING RELIEF
                     131     From the moment this lawsuit was filed, Ohana Growth Partners LLC acted with

                     unclean hands. Richard Hartman's admission of violating FMLA protections on page 4 of

                     his affidavit disqualifies Ohana from seeking any equitable relief and invalidates the legal

                     grounds for their claims. Every filing made after that admission has only compounded their

                     misconduct, making each one frivolous, retaliatory, and deserving of Rule 11 sanctions.

                     132     By dismissing this case with prejudice, imposing severe sanctions, and initiating an

                     investigation into Ohana's fraudulent actions, the court will uphold the principles of justice

                     and deter future misuse of the legal system by parties who attempt to litigate in bad faith while

                     knowingly violating federal labor laws.


                     LEGAL STANDARD
                     133     The imposition of sanctions for frivolous filings and bad-faith litigation is grounded in

                     both federal law and Maryland law, which grant courts the authority to punish parties that

                     misuse the judicial process. Federal Rule of Civil Procedure 11 and Maryland Rule 1-311

                     require that all documents submitted to the court be well-grounded in law and fact, and not

                     filed for improper purposes such as harassment, delay, or needlessly increasing litigation

                     costs. Courts have consistently held that parties who engage in bad-faith litigation tactics, such


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                        as submitting false or frivolous claims, may be sanctioned. These sanctions can include fines,

                        dismissal of claims, and other punitive measures designed to deter further abuse of the legal

                        system.




                        134        In Chambers v. NASCO, Inc., the U.S. Supreme Court affirmed the court's inherent

                        authority to impose sanctions on parties that engage in bad-faith litigation practices. In this

                        case, the defendant had repeatedly filed meritless motions and engaged in tactics designed to

                        delay the litigation, obstruct justice, and force the opposing party to incur unnecessary legal

                        fees. The Supreme Court held that when a party files repeated frivolous filings without

                        legitimate grounds for relief, the court may impose sanctions, even beyond the scope of Rule 11.

                                   I.        Chambers affirmed that the court' s inherent power to punish parties for abusing

                                   the legal process is essential to preserving the integrity of the judicial system. This case

                                   underscores that courts can use sanctions to protect the judicial process from being

                                   manipulated for improper purposes, including harassment and delay.


                  II.         KLJJIT..Y,.JS.RQN..O.ARP.... .l.Z~.MQ,.f>.J??.,.17.9.•.7.'J.'aA,2.o..7.'Z.7.09..99.)

                        135        In Klupt v. Krongard, the Maryland Court of Special Appeals upheld sanctions

                        against a plaintiff for filing frivolous claims. The case involved a plaintiff who pursued legal

                        action despite the lack of a factual or legal basis for the claims being made. The court ruled that

                        sanctions were appropriate when a party continues to file meritless claims without legal

                        justification, and especially when the litigation serves no purpose other than to harass or delay

                        the opposing party.


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                              I.      The Klupt decision reinforces the principle that legal claims must be grounded in

                             both fact and law, and that persistent litigation without a proper foundation will result

                              in sanctions. This ruling highlights the court's authority to punish parties who exploit the

                             judicial system for improper purposes, such as personal vendettas, retaliation, or

                              financial gain through legal harassment.




                     136      In the current case, every single filing by Ohana Growth Partners, LLC and their

                     counsel, Miles & Stockbridge, over the past four months is unfounded, frivolous, and made

                     with the intent to harass and retaliate against Ryan Dillon-Capps. These filings, as shown in

                     the Affidavit of Bad Faith and Affidavit of Perjury, were based on false claims and perjured

                     testimony, with no legitimate legal or factual basis. The admission by Richard Hartman that

                     Ohana violated FMLA protections on page 4 of his affidavit invalidates their entire legal

                     standing. Despite this, Ohana continued to file claims, misrepresent facts, and submit documents

                     designed to obscure the truth and force Dillon-Capps into further litigation.

                              I.      Frivolous Filings: Each filing made by Ohana during this four-month period was

                             made in bad faith. The claims of non-compliance with PCI DSS standards, system

                             access, and administrative control were all based on fabrications, and Ohana's

                              leadership engaged in deliberate obstruction by refusing to provide accurate

                              information. These filings were intended to cause financial, emotional, and reputational

                              harm to Dillon-Capps, not to resolve a legitimate legal dispute.

                              2.      Cumulative Impact of Frivolous Filings: The cumulative impact of multiple

                              frivolous filings strengthens the case for severe sanctions. As the court in Klupt

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                             emphasized, persistent meritless claims increase the burden on both the opposing party

                             and the court. In this case, Dillon-Capps has been forced to defend against fraudulent

                             and retaliatory claims, causing unnecessary financial and emotional distress.




                     137     Under Rule 11 and Maryland Rule 1-311, the court has the authority to impose

                     sanctions for each instance of a frivolous filing or bad-faith litigation. This includes the power

                     to:

                              1.      Impose monetary fines on Ohana Growth Partners and their counsel, Miles &

                             Stockbridge, for their repeated and baseless filings.

                             2.       Dismiss all claims with prejudice, as Ohana's lawsuit is predicated on

                             fraudulent claims, perjured testimony, and admitted violations of federal law,

                             specifically FMLA protections.

                             3.       Refer the matter for criminal investigation, given the evidence of perjury,

                             obstruction, and fraudulent representations made by Ohana and their legal team.

                     138     The court's power to sanction not only serves to punish bad-faith litigation but also acts

                     as a deterrent to future misuse of the judicial system. By imposing sanctions, the court protects

                     the integrity of the judicial process and ensures that frivolous claims do not further waste court

                     resources or inflict undue harm on innocent parties.


                     CONCLUSION
                     139      The legal standard for imposing Rule 11 sanctions is clear: parties must certify that their

                     filings are grounded in fact and law, and if they fail to do so, the court has the authority to

                     impose severe penalties. Ohana Growth Partners, through Miles & Stockbridge, has filed
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                     frivolous claims and misleading documents for the sole purpose of harassing Dillon-Capps.

                     These actions, compounded by the admission of FMLA violations, render Ohana's lawsuit

                     frivolous and abusive from the outset.

                     The court should:

                              1.      Impose monetary penalties on Ohana Growth Partners and Miles & Stockbridge

                              for their repeated violations of Rule 11.

                             2.       Dismiss the case with prejudice, recognizing the bad faith and unclean hands of

                              Ohana Growth Partners.

                              3.      Refer the matter for criminal investigation, given the evidence of perjury, fraud,

                              and FMLA violations.

                     140      In doing so, the court will uphold the principles of justice, deter future bad-faith

                     litigation, and restore integrity to the judicial process.


                                                              ABUSE OF PROCESS

                     141      Abuse of process occurs when a party uses the legal system for improper purposes,

                     such as to harass, delay, or extort another party, rather than pursuing a legitimate legal claim.

                     While a lawsuit or legal filing may be technically valid, if the underlying intent behind the use

                     of legal proceedings is improper, it constitutes abuse of process. This can include actions such

                     as using litigation to force an unjust settlement, increase costs for the opposing party, or

                     achieve goals unrelated to the case's legal merits. Each filing made with an improper purpose

                     is considered an independent act of abuse of process and can give rise to sanctions or damages.




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                     142      In this case, Ohana Growth Partners LLC, with the assistance of their counsel Miles &

                     Stockbridge, has weaponized the judicial system to harass and financially burden Ryan

                     Dillon-Capps. Over the course of four months, they have repeatedly filed meritless claims,

                     relied on perjured testimony, and engaged in bad-faith litigation practices. The filings are not

                     aimed at pursuing legitimate legal relief but rather at retaliating against Dillon-Capps for

                     exposing their internal violations, including violations of FMLA protections, as admitted by

                     Richard Hartman in his affidavit.


                     LEGAL STANDARD FOR ABUSE OF PROCESS
                     143      The elements of abuse of process are well-established in Maryland law, and courts have

                     consistently recognized that the misuse of the legal system for illegitimate purposes warrants

                     sanctions or damages.




                     144      In Walker v. American Security Corp., the Maryland Court of Appeals defined

                     abuse of process as the use of legal proceedings for a purpose other than that which the process

                     was designed to achieve. The court made clear that even if the legal filing is technically valid,

                     the process is abused if it is used for an illegitimate purpose, such as to harass, delay, or extort

                     the opposing party. Walker sets forth that the underlying intent behind the use of the legal

                     process is the key factor in determining whether abuse has occurred.

                              1.      In Walker, the plaintiff used a valid legal mechanism but with the improper intent

                              to harm the defendant financially, leading the court to find that abuse of process had

                              occurred. The Maryland Court of Appeals concluded that legal actions brought with



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                              ulterior motives, or for a purpose other than resolving legitimate legal disputes, would be

                              considered an abuse of process.




                     145      Ohana Growth Partners has used this lawsuit as a tool for retaliation, not to seek legal

                     resolution, but to burden Dillon-Capps with financial strain, emotional distress, and

                     reputational damage. Despite having no legitimate claims, as evidenced by Richard

                     Hartman's admission of violating FMLA rights and the fraudulent filings submitted by

                     Ohana's representatives, they have continued to misuse the legal system. This constitutes

                     abuse of process under Maryland law.

                              1.      Improper Purpose: The primary motive behind Ohana's lawsuit is retaliation

                              for Dillon-Capps' exposure of internal violations. Rather than pursuing a valid legal

                              remedy, Ohana is seeking to inflict harm on Dillon-Capps through continuous and

                              frivolous filings. This pattern of behavior mirrors the improper use of legal process seen

                              in Walker.

                              2.      Separate Acts of Abuse: Each filing submitted by Ohana over the course of the

                              litigation, whether regarding system access, personnel records, or non-compliance, has

                              been designed to create unnecessary costs for Dillon-Capps. Courts have found that

                              when a party makes repeated filings for an improper purpose, each filing constitutes an

                              independent act of abuse of process.




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                     146     Courts have the authority to impose sanctions or award damages for abuse of process,

                     particularly when it results in financial harm or an undue burden on the defendant. In this case,

                     Dillon-Capps has faced significant financial loss, as well as emotional and reputational damage,

                     due to Ohana's continuous abuse of the legal system. The improper use of the judicial process

                     to delay resolution and force a settlement constitutes an abuse of process for which Ohana and

                     their counsel must be held accountable.

                              1.      Financial Harm: As a direct result ofOhana's abuse of process, Dillon-Capps

                              has incurred significant legal fees, emotional distress, and other costs associated with

                             defending against frivolous claims. The improper intent behind Ohana's filings has

                             created an undue burden on the defendant, warranting severe sanctions and damages.

                             2.       Undue Burden on Judicial Resources: The continued filing of meritless claims

                              has also placed an undue burden on the judicial system, requiring the court to devote time

                              and resources to handling claims that have no legal basis. By filing claims designed to

                              harass and delay, Ohana has wasted valuable court resources, further justifying the

                              imposition of sanctions.




                     147      Given the persistent abuse of the judicial system by Ohana Growth Partners LLC and

                     their counsel, Miles & Stockbridge, the court should impose the following sanctions:

                              1.      Monetary sanctions for each filing made with an improper purpose, designed

                              to retaliate against Dillon-Capps or delay the litigation without a legitimate legal basis.


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                              2.      Dismissal of all claims with prejudice, as the lawsuit has been shown to be

                              retaliatory, based on perjury, and designed solely to harass.

                              3.      Referral for further investigation into the role of Ohana's representatives in

                              filing fraudulent claims and using the legal system as a tool for extortion and

                              retaliation.


                     CONCLUSION
                     148      Ohana Growth Partners LLC's continued litigation, despite the lack of a legitimate

                     claim, is a clear case of abuse of process. By using the court system for improper purposes,

                     including retaliation, harassment, and inflicting financial harm, Ohana has misused the judicial

                     process in violation of Maryland law.

                     149      The court should impose severe sanctions to prevent further abuse of process and to

                     ensure that Ohana and their counsel, Miles & Stockbridge, are held accountable for their

                     actions. Monetary damages should be awarded to Dillon-Capps for the undue financial burden

                     placed on him, and all claims should be dismissed with prejudice.


                                   VEXATIOUS LITIGATION AND PATTERN OF MISCONDUCT

                     150      Vexatious litigation occurs when a party persistently files meritless lawsuits or

                     continues to pursue claims that cannot be granted relief, for the purpose of harassing the

                     opposing party, delaying proceedings, or otherwise abusing the legal process. This pattern of

                     conduct places an undue burden on the courts, the opposing party, and the judicial system as a

                     whole. In this case, Ohana Growth Partners LLC and their counsel, Miles & Stockbridge,

                     have engaged in vexatious conduct from the outset, filing meritless claims based on falsehoods


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                     and perjured testimony in an effort to delay the proceedings and financially drain the

                     defendant, Ryan Dillon-Capps.

                     151      Over the course of the last four months, it has become abundantly clear that Ohana's

                     claims lack any legitimate basis. The foundational claim of the lawsuit-that Dillon-Capps

                     obstructed access to the Global Administrator accounts-has been exposed as fraudulent.

                     The evidence, including the Affidavit of Daniel Levett, demonstrates that Ohana always had

                     access to these accounts. The fact that Ohana persisted in their litigation despite having full

                     knowledge of this fact shows that this case was filed and pursued in bad faith, with no objective

                     other than to harass, delay, and exert financial pressure on Dillon-Capps.


                     LEGAL STANDARD FOR VEXATIOUS LITIGATION
                     152      Courts have the authority to impose severe sanctions when a party engages in vexatious

                     litigation, including barring the party from filing future claims without prior judicial approval.

                     The purpose of these sanctions is to protect both the judicial system and the opposing party

                     from the continued burden of frivolous filings.




                     153      In Safir v. U.S. Lines, Inc., the Second Circuit established the factors courts should

                     consider when determining whether litigation is vexatious. These factors include:

                              1.      The party's motive for pursuing the lawsuit.

                              2.      Whether the claims are legitimate or meritless.

                              3.      Whether the litigation imposes an undue burden on the opposing party.

                              4.      Whether the filings have prolonged the litigation unnecessarily.



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                     154     In Safir, the court ruled that when litigation is pursued with improper motives, such as

                     harassment or delay, and when the claims are clearly without merit, the litigation becomes

                     vexatious, and the court is justified in imposing sanctions to prevent further abuse of the legal

                     process.

                              1.      In this case, Ohana's persistence in filing groundless claims, despite knowing

                             they lacked any factual or legal basis, reflects their improper motive to harass and

                             impose financial and emotional strain on Dillon-Capps. The Safir standard supports the

                             conclusion that Ohana's litigation is vexatious and warrants severe sanctions.




                     155     In Tucker v. Woolery, the Maryland Court of Special Appeals held that repeated,

                     groundless litigation is an abuse of the judicial process and warrants severe sanctions. The

                     court noted that when a party files claims that are frivolous and lacks merit, and when the

                     repeated filings serve no legitimate purpose other than to prolong litigation or harass the

                     opposing party, the court has the authority to impose significant penalties, including injunctive

                     relief to prevent future filings without judicial oversight.

                              1.      The Tucker case illustrates the Maryland courts' stance on vexatious litigation.

                             Here, Ohana's meritless filings have caused significant harm to Dillon-Capps, not only

                              by delaying the resolution of the case but by also increasing legal costs and causing

                              emotional distress. Each filing has further prolonged the litigation without serving any

                              legitimate legal purpose, echoing the vexatious conduct condemned in Tucker.




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                     156      The facts of this case demonstrate a clear and ongoing pattern of vexatious litigation by

                     Ohana Growth Partners and their counsel, Miles & Stockbridge. The foundational claim that

                     Dillon-Capps obstructed access to the Global Administrator accounts has been shown to be false,

                     as the Affidavit of Daniel Levett proves that Ohana always had access to these accounts, contrary

                     to the claims made in their filings. Despite this, Ohana continued to pursue the lawsuit for the

                     purpose of harassing and financially harming Dillon-Capps.

                              1.      Improper Motives: The persistence of Ohana in filing false claims despite the

                              clear evidence that they had full access to the accounts reflects a deliberate attempt to

                              delay the proceedings and force Dillon-Capps into a position where he would either be

                              financially drained or pressured into a settlement. These improper motives are the very

                              essence of vexatious litigation.

                              2.      Prolonging Litigation: Each filing made by Ohana over the course of four

                              months has prolonged the litigation unnecessarily. Rather than resolving the dispute,

                              Ohana's filings have introduced false claims, perjured testimony, and misleading

                              statements, all designed to increase the complexity of the case and exhaust Dillon-Capps'

                              resources. The cumulative effect of these filings clearly demonstrates a pattern of

                              vexatious conduct, which justifies the imposition of severe sanctions.


                     SANCTIONS SOUGHT FOR VEXATIOUS LITIGATION
                     157      Given the ongoing vexatious litigation pursued by Ohana Growth Partners, the court

                     should impose the following sanctions to protect both the judicial system and Dillon-Capps

                     from further abuse:

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                              1.      Monetary sanctions for each filing that was made with the improper motive of

                              harassment or delay, including those based on false claims of administrative access and

                              compliance.

                              2.      Dismissal of all claims with prejudice, as the false and perjured testimony

                              used to support these claims renders the entire lawsuit meritless.

                              3.      Injunctive relief barring further filings: The court should issue an order

                              preventing Ohana Growth Partners and Miles & Stockbridge from filing any further

                              claims without prior judicial approval, to prevent continued abuse of the judicial

                              system.

                              4.      Referral for criminal investigation: The perjured statements and false claims

                              submitted by Ohana and their representatives should be referred for criminal

                              investigation, as their conduct goes beyond mere litigation tactics and constitutes

                              fraudulent behavior.


                                                                    CONCLUSION

                     158      The actions of Ohana Growth Partners LLC and Miles & Stockbridge over the past

                     four months constitute a clear pattern of vexatious litigation. Each filing has been made with the

                     intent to harass, delay, and financially harm Dillon-Capps, rather than to pursue legitimate

                     legal claims. This pattern of misconduct has wasted valuable judicial resources and caused

                     significant harm to the defendant.


                     The court should:




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                              1.      Impose monetary sanctions for each meritless filing made with improper

                              motives.

                             2.       Dismiss the case with prejudice, recognizing that the lawsuit was filed and

                              pursued in bad faith.

                              3.      Issue an injunctive order barring Ohana and their counsel from filing further

                              claims without prior judicial approval.

                              4.      Refer the matter for criminal investigation to address the fraudulent conduct

                              and perjury committed by Ohana and their representatives.

                     159      By imposing these sanctions, the court will protect the integrity of the judicial process

                     and ensure that vexatious litigation of this kind is not tolerated.


                                                            CONTEMPT OF COURT

                     160      When a party continues to file frivolous motions in the face of clear evidence that the

                     case is fraudulent and baseless, this constitutes litigation misconduct. Such conduct not only

                     wastes judicial resources but also violates the court's authority, undermining the integrity of

                     the legal system. The court has the power to impose civil and criminal contempt sanctions to

                     stop parties from engaging in misconduct that disobeys court orders or continues to manipulate

                     the legal process.

                     161      In this case, Ohana Growth Partners LLC and their counsel, Miles & Stockbridge,

                     have engaged in persistent litigation misconduct by filing frivolous motions over a four-month

                     period, despite overwhelming evidence that their claims are fraudulent and lack any legal or

                     factual basis. Each filing further contributes to their pattern of bad-faith litigation and


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                     demonstrates a blatant disregard for the court's authority. Such misconduct must be addressed

                     with severe sanctions to protect the judicial process and prevent further abuse.


                     LEGAL STANDARD FOR LITIGATION MISCONDUCT AND CONTEMPT OF
                     COURT
                     162        The court has the authority to impose sanctions for litigation misconduct and contempt

                     of court when a party knowingly engages in bad-faith litigation tactics, disobeys court orders, or

                     acts to delay or disrupt the judicial process. Contempt sanctions are designed to be coercive and

                     punitive, ensuring that parties adhere to the proper use of legal proceedings and do not abuse the

                     system.




                           ll.9.9.4.)

                     163        In International Union, United Mine Workers of America v. Bagwell, the U.S. Supreme

                     Court affirmed that courts have the inherent authority to impose both civil and criminal contempt

                     sanctions when a party engages in litigation misconduct or disobeys court orders. The Court held

                     that when a party' s actions amount to misuse of the legal process, courts may impose escalating

                     sanctions-including fines, imprisonment, or other coercive measures- to stop further

                     misconduct.

                                 1.     In Bagwell, the party engaged in a pattern of disobedience and frivolous conduct,

                                prompting the court to issue escalating penalties in the form of coercive fines and

                                imprisonment to ensure compliance with court orders and to protect the judicial process

                                from further harm.




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                              2.      The Bagwell case highlights the broad authority of courts to sanction litigation

                              misconduct and protect the integrity of the legal system by issuing sanctions that escalate

                              in severity if the misconduct continues.




                     164      In the present case, Ohana Growth Partners LLC and Miles & Stockbridge have

                     consistently engaged in litigation misconduct by filing frivolous motions and continuing to

                     pursue baseless claims, despite the clear evidence presented through the Affidavits of Bad

                     Faith, Perjury, and Daniel Levett proving that their claims are fraudulent. This persistent

                     filing of meritless motions is not just an abuse of the legal process but a violation of the court's

                     authority.

                              1.      Continued Frivolous Filings: Over the course of four months, Ohana has

                              submitted multiple frivolous motions based on false assertions about system access,

                              compliance, and non-existent Global Administrator accounts. Despite knowing that

                              their claims were meritless, Ohana persisted in filing documents designed to delay

                              proceedings and harass Dillon-Capps. Each filing represents a separate act of litigation

                              misconduct, which should be treated as contempt of court under the standards set forth

                              in Bagwell.

                              2.      Violation of Court Authority: By continuing to file frivolous motions, Ohana

                              has disobeyed the court's inherent authority to oversee a fair and efficient judicial

                              process. The repeated abuse of the court's resources reflects a disregard for the legal

                              system, which warrants escalating penalties, including fines and other coercive measures

                              to stop further misconduct.

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                       165       Under Bagwell, the court has the authority to impose escalating sanctions for litigation

                       misconduct and contempt of court. In this case, the court should consider imposing the

                       following sanctions to address the persistent abuse of the legal process:

                                 1.      Monetary fines for each frivolous filing submitted by Ohana and Miles &

                                 Stockbridge. These fines should escalate with each additional filing to deter future

                                 misconduct and ensure that Ohana faces the financial consequences of their abuse.

                                 2.      Imprisonment or coercive sanctions for continued violations. If Ohana and

                                 their counsel continue to engage in litigation misconduct, the court should consider

                                 imprisonment as a means of halting further abuse of the judicial system.

                                 3.      Referral for criminal contempt: The court may refer Ohana's representatives

                                 and their counsel for criminal contempt proceedings if the misconduct persists,

                                 ensuring that their actions are held to the highest standard of legal accountability.


                 IV.         .l?A..II~~.Qf..LJIJQA..UQN..Ml~.C.QNR.V.C.I

                       166       The cumulative effect of Ohana's frivolous filings demonstrates a clear pattern of

                       misconduct, which has caused significant harm to Dillon-Capps and has placed an undue

                       burden on the judicial system. Each filing was intended to delay the resolution of the case,

                       increase litigation costs, and exhaust the resources of the defendant. Ohana's refusal to cease

                       this pattern of misconduct should lead to the imposition of severe sanctions, including

                       contempt penalties.




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                              I.      Financial Harm: The continuous filing of baseless motions has imposed

                             significant financial strain on Dillon-Capps, who has been forced to defend against

                             fraudulent claims at great expense. The court should impose monetary fines on Ohana

                             and their counsel to compensate for the financial harm caused by their actions.

                             2.       Emotional and Reputational Damage: The ongoing litigation misconduct has

                             also caused emotional distress and reputational harm to Dillon-Capps. The court has a

                             responsibility to address the non-financial harms caused by Ohana's bad faith

                             conduct, further justifying the imposition of coercive sanctions.




                     167     Given the persistent litigation misconduct by Ohana Growth Partners and their

                     counsel, Miles & Stockbridge, the court should impose the following sanctions to halt further

                     abuse of the legal process:

                              1.      Escalating monetary fines for each instance of frivolous filing, to deter further

                             misconduct and ensure Ohana faces the financial consequences of their actions.

                             2.       Imprisonment or coercive sanctions if the misconduct continues, as authorized

                              under Bagwell, to ensure compliance with court orders and to protect the judicial process

                              from further abuse.

                              3.      Referral for criminal contempt for continued violations, to hold Ohana and

                             their representatives accountable for their deliberate abuse of the court's resources.


                                                                    CONCLUSION




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                     168     The ongoing litigation misconduct by Ohana Growth Partners LLC and their counsel

                     constitutes a clear violation of the court's authority and an abuse of the judicial process. Their

                     persistent filing of frivolous motions serves no legitimate legal purpose and is designed solely to

                     delay the proceedings, harass Dillon-Capps, and waste judicial resources. The court has the

                     authority under Bagwell to impose escalating sanctions, including fines, imprisonment, and

                     criminal contempt proceedings, to stop this abuse.


                     The court should:

                              1.      Impose monetary fines for each frivolous filing submitted by Ohana and Miles

                             & Stockbridge.

                             2.       Consider imprisonment or coercive sanctions if the misconduct persists, in

                             accordance with the court's inherent authority to protect the judicial process.

                              3.      Refer the matter for criminal contempt proceedings to address the continued

                              violation of court orders and the ongoing abuse of the legal system.

                     169     By imposing these sanctions, the court wi II protect the integrity of the judicial system and

                     ensure that litigation misconduct of this nature is not tolerated.


                                       IMPOSING SANCTIONS FOR BAD-FAITH LITIGATION

                     170      Courts possess inherent authority to impose sanctions on parties or attorneys who

                     engage in bad-faith litigation tactics, even when such conduct is not explicitly addressed by

                     procedural rules like Rule 11. This inherent power is essential for maintaining the integrity of the

                     judicial system, ensuring that parties do not abuse the legal process to pursue frivolous claims,

                     cause unnecessary delays, or otherwise manipulate the court for improper purposes.


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                     171     Ohana Growth Partners LLC and their counsel, Miles & Stockbridge, have engaged

                     in a pattern of bad-faith litigation, filing meritless claims and frivolous motions for the

                     purpose of harassment, delaying proceedings, and forcing financial hardship on the

                     defendant, Ryan Dillon-Capps. Despite clear evidence of the fraudulent nature of their

                     claims-including admissions from Richard Hartman regarding FMLA violations-they have

                     continued to abuse the legal process, showing a blatant disregard for the ethical and professional

                     standards required of litigants. Such bad-faith conduct justifies the imposition of serious

                     sanctions, including fines, dismissal of the case, and preclusion from filing further claims in

                     this matter.


                     LEGAL STANDARD FOR SANCTIONS IN BAD-FAITH LITIGATION
                     172     The inherent authority of courts to sanction parties for bad-faith conduct is a well-

                     established principle in both federal and state law. Courts are empowered to punish parties who

                     abuse the judicial process through conduct that violates ethical standai:ds or undermines the

                     integrity of the judicial system, even if such conduct is not explicitly covered by formal

                     procedural rules.




                     173      In Roadway Express, Inc. v. Piper, the U.S. Supreme Court upheld the inherent power

                     of courts to impose sanctions on parties or attorneys who engage in bad-faith conduct. The

                     Court emphasized that while Rule 11 and other formal rules provide mechanisms for sanctioning

                     improper conduct, courts retain inherent authority to sanction parties outside of those rules

                     when their behavior threatens the integrity of the legal system. In particular, the Court noted that

                     bad-faith litigation tactics, such as filing frivolous claims, delaying litigation, or engaging in
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                     abusive discovery practices, could justify significant sanctions, including fines, attorney's

                     fees, and dismissal of claims.

                              1.      In Roadway Express, the plaintiff's attorneys engaged in delay tactics and

                              frivolous motions designed to obstruct the judicial process. The Court's ruling affinned

                              that courts must have the power to sanction such conduct in order to protect the judicial

                              system from abuse and ensure that parties who engage in bad faith face appropriate

                              consequences.




                     174      In Blanton v. Equitable Bank, the Maryland District Court sanctioned a party for bad-

                     faith litigation tactics, reaffirming that courts have inherent power to punish abusive litigation

                     practices. The case involved a party that filed groundless motions and used frivolous arguments

                     to delay the proceedings and burden the opposing party. The court found that such tactics were a

                     clear abuse of the judicial process, warranting sanctions even though the conduct was not

                     specifically covered by formal rules such as Rule 11.

                              1.      The Blanton case highlights the Maryland court's willingness to punish parties

                              who engage in bad-faith litigation, emphasizing that the courts ' inherent authority

                              extends to all forms of misconduct that disrupt the fair administration of justice.

                              Sanctions in Blanton included both monetary fines and preclusion from further filings

                              in the case.




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                     175       Ohana Growth Partners and their counsel, Miles & Stockbridge, have demonstrated a

                     clear pattern of bad-faith litigation through their continued filing of meritless claims and

                     frivolous motions. These filings, which span a four-month period, are not grounded in law or

                     fact and serve no legitimate purpose other than to harass Dillon-Capps, cause unnecessary

                     delays, and force him to expend significant financial resources in defending against fraudulent

                     claims.

                               1.     Improper Motive: The bad-faith motivation behind Ohana's filings is clear.

                               The lawsuit is based on false assertions about Global Administrator accounts, with

                               Ohana and their counsel knowingly pursuing claims that were unsupported by the

                               evidence. Despite the admission of FMLA violations by Richard Hartman, Ohana

                               persisted in filing meritless motions, with the clear intent to delay proceedings and

                               force a settlement through litigation fatigue.

                               2.     Pattern of Frivolous Filings: Over four months, Ohana submitted multiple

                               motions, each designed to prolong the litigation and force Dillon-Capps into a defensive

                               posture, despite the lack of legal or factual support for their claims. Each of these motions

                               constitutes bad-faith conduct, warranting escalating sanctions to prevent further misuse

                               of the court's resources.




                     176       The court' s inherent power to sanction bad-faith litigation allows for the imposition of

                     penalties that escalate in severity to deter future misconduct. In this case, the court should


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                     consider the following sanctions to address the persistent bad-faith conduct of Ohana Growth

                     Partners and Miles & Stockbridge:

                              1.      Monetary fines for each meritless filing made with bad-faith motivations. These

                              fines should be substantial enough to deter Ohana and their counsel from engaging in

                              further litigation misconduct.

                              2.      Dismissal of the case with prejudice: Given the fraudulent nature of Ohana's

                              claims, and the continued abuse of the legal system through bad-faith filings, the court

                              should dismiss the lawsuit in its entirety, with prejudice, to prevent any further litigation

                              on these meritless claims.

                              3.      Preclusion from further filings: The court should impose an order barring

                              Ohana and their counsel from filing any further motions or claims in this matter without

                              prior judicial approval, to ensure that the judicial process is not further abused.

                              4.      Attorney's fees: The court should award Dillon-Capps attorney' s fees for the

                              costs incurred in defending against these bad-faith claims, ensuring that he is

                              compensated for the financial harm caused by Ohana's misconduct.




                     177      Both Roadway Express and Blanton set clear precedent for courts to exercise their

                     inherent authority to impose sanctions on parties that engage in bad-faith litigation practices.

                     By filing frivolous claims over an extended period, Ohana Growth Partners has abused the

                     legal process, demonstrating a pattern of conduct that warrants severe penalties to protect both

                     the defendant and the judicial system from further harm.



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                     CONCLUSION
                     178      Ohana Growth Partners LLC and Miles & Stockbridge have engaged in a sustained

                     campaign of bad-faith litigation, using the court system to harass, delay, and inflict financial

                     hardship on Dillon-Capps. The court possesses inherent authority to impose sanctions in

                     response to this misconduct, as established by Roadway Express and Blanton.

                     179      The court should:
                              1.     Impose monetary fines for each instance of bad-faith filing submitted by Ohana

                              and their counsel.

                              2.      Dismiss the case with prejudice, recognizing that the lawsuit is based on

                              fraudulent claims and meritless arguments.

                              3.      Issue an order barring Ohana from filing further motions or claims in this matter

                              without prior judicial approval, to prevent continued abuse of the legal process.

                              4.      Award attorney's fees to Dillon-Capps, compensating him for the costs incurred

                              as a result of Ohana's bad-faith litigation.

                     180      By imposing these sanctions, the court will uphold the integrity of the judicial process

                     and ensure that parties who engage in bad-faith conduct face appropriate consequences.


                                      RULE 41{B) DISMISSAL FOR FAILURE TO PROSECUTE

                     181      Federal Rule of Civil Procedure 41(b) and its Maryland counterpart (Rule 2-507)

                     empower courts to dismiss a case for failure to prosecute or when a party engages in conduct

                     that prevents the case from moving forward in a productive manner. This rule is designed to

                     protect the judicial process from being misused by parties who file frivolous claims or

                     repeatedly engage in procedural misconduct that delays the resolution of the case. When a party


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                     fails to prosecute their case in good faith , dismissal-particularly dismissal with prejudice--

                     becomes warranted.

                     182      In this case, Ohana Growth Partners LLC and their counsel, Miles & Stockbridge,

                     have engaged in a pattern of procedural misconduct and frivolous filings that demonstrate their

                     failure to move the case forward in a meaningful or productive way. Over a four-month period,

                     they have submitted meritless motions and continued to litigate despite having no legal or

                     factual basis for their claims. This conduct constitutes a failure to prosecute, and the court

                     should exercise its authority to dismiss the case under Rule 41(b) or Maryland Rule 2-507.


                     LEGAL STANDARD FOR DISMISSAL UNDER RULE 4l(B)
                     183      Federal Rule 41(b) allows for the involuntary dismissal of a case when a party fails to

                     prosecute or comply with the rules of procedure. This includes situations where a party engages

                     in frivolous litigation or repeatedly fails to move the case forward in a substantive way.

                     Similarly, Maryland Rule 2-507 provides for dismissal when a party fails to advance the case,

                     such as by filing meritless motions without addressing the core issues of the case.




                     184      In Link v. Wabash R.R. Co., the U.S. Supreme Court held that a court may dismiss a

                     case for failure to prosecute under Rule 41(b) without a motion by the defendant. The Court

                     emphasized that the power to dismiss for failure to prosecute is inherent in a court' s ability to

                     manage its docket and ensure the efficient administration of justice.

                              1.      Link affirmed that courts must have the ability to dismiss cases where a party

                              engages in conduct that prevents the case from moving forward , such as filing frivolous



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                              claims or failing to pursue the case in good faith. This ruling supports dismissal where

                              a plaintiff repeatedly obstructs progress through procedural misconduct.




                     185      In Powell v. Breslin, the Maryland Court of Appeals reiterated the court' s authority

                     under Rule 2-507 to dismiss cases for failure to prosecute. The case involved a party who failed

                     to move the case forward, instead engaging in procedural delays by filing oppositions and

                     motions without addressing the substantive issues of the case. The court ruled that such conduct

                     amounted to a failure to prosecute, justifying dismissal under Maryland Rule 2-507.

                              1.      Powell makes clear that parties cannot delay the progress of a case by filing

                              motions or oppositions that do not advance the case toward resolution. When a party files

                              meritless claims or engages in repeated procedural misconduct, dismissal under Rule

                              2-507 is appropriate.




                     186      In the current case, Ohana Growth Partners LLC has demonstrated a persistent failure

                     to prosecute by filing frivolous claims and engaging in procedural misconduct for over four

                     months. Despite the admission of FMLA violations by Richard Hartman and the evidence

                     proving the fraudulent nature of their claims-such as the Affidavit of Daniel Levett showing

                     that Ohana had access to the Global Administrator accounts-Ohana has continued to file
                                                                          I
                     meritless motions that do not advance the case in a meaningful way. This conduct mirrors the

                     behavior seen in Link and Powell, where dismissal was warranted due to the failure to move

                     the case forward.


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                              1.      Frivolous Filings: Ohana's continued filing of meritless claims regarding system

                              access, compliance, and non-existent administrative issues reflects a deliberate effort to

                              delay the case. By failing to address the central issues and instead relying on frivolous

                              motions, Ohana has failed to prosecute the case in good faith.

                              2.      Procedural Misconduct: The four-month period of repeated procedural

                              misconduct, including false claims and perjured testimony, further justifies dismissal.

                              Ohana's actions have wasted court resources and caused significant harm to Dillon-

                              Capps, who has been forced to defend against fraudulent claims with no legal merit.




                     187      The court has clear grounds to dismiss the case under Rule 4l(b) and Maryland Rule 2-

                     507 due to Ohana's failure to prosecute. Their conduct over the last four months demonstrates

                     a complete disregard for the judicial process and an unwillingness to move the case forward in a

                     meaningful way. Each filing has been made with the intent to delay proceedings, rather than to

                     resolve the legal dispute, which amounts to a failure to prosecute.

                              1.      Dismissal with Prejudice: Given the fraudulent nature of Ohana's claims, the

                              court should dismiss the case with prejudice to prevent further abuse of the legal process.

                              Ohana's bad-faith litigation tactics, including their failure to prosecute the case in good

                              faith, warrant the most severe penalty-dismissal with prejudice.

                              2.      Involuntary Dismissal: As established in Link, the court can dismiss the case on

                              its own motion without requiring Dillon-Capps to file for dismissal. The court' s

                              inherent authority to manage its docket and prevent further procedural abuse supports

                              the involuntary dismissal of the case under Rule 41 (b ).

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                     188     In addition to dismissal, the court should consider imposing sanctions for Ohana 's

                     failure to prosecute. The repeated filing of frivolous motions over the course of four months

                     has caused significant financial and emotional harm to Dillon-Capps and has wasted valuable

                     judicial resources. Sanctions could include monetary penalties for each instance of frivolous

                     filing, as well as an award of attorney's fees to compensate Dillon-Capps for the costs incurred

                     in defending against these meritless claims.


                     CONCLUSION
                     189     The pattern of frivolous filings and procedural misconduct demonstrated by Ohana

                     Growth Partners LLC and their counsel, Miles & Stockbridge, constitutes a clear failure to

                     prosecute under Federal Rule 41(b) and Maryland Rule 2-507. For over four months, Ohana has

                     failed to move the case forward in a meaningful or productive way, relying instead on meritless

                     motions that have caused unnecessary delays and inflicted financial harm on Dillon-Capps.


                     The court should:

                              1.      Dismiss the case with prejudice under Rule 41(b) and Maryland Rule 2-507, as

                             Ohana has failed to prosecute the case in good faith.

                              2.      Impose monetary sanctions for each frivolous filing made by Ohana and their

                              counsel.

                              3.      Award attorney's fees to Dillon-Capps to compensate him for the costs incurred

                              as a result of Ohana' s failure to prosecute the case in a meaningful way.




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                     190      By imposing these sanctions and dismissing the case, the court will protect the integrity

                     of the judicial process and ensure that parties who engage in bad-faith litigation face

                     appropriate consequences.


                                                            X FINAL CONCLUSION

                     191      For over four months, Ohana Growth Partners, LLC and their counsel, Miles &

                     Stockbridge, have engaged in a persistent pattern of bad-faith litigation, filing frivolous

                     claims and pursuing meritless motions. These actions have not only imposed significant

                     financial, emotional, and reputational harm on the defendant, Ryan Dillon-Capps, but have

                     also wasted valuable court resources. Most critically, Richard Hartman's admission of

                     violating FMLA rights invalidates the very foundation of this lawsuit from its commencement,

                     barring Ohana from seeking any equitable relief under the unclean hands doctrine.

                     192      Each of Ohana's filings represents an act of misconduct, warranting escalating sanctions

                     under Rule 11, abuse of process, and contempt of court. The continued litigation in light of

                     these clear admissions of bad faith underscores the need for swift and decisive action by the

                     court.


                                 A   Motion to Dismiss with Prejudice for a June 13 th Worth of Reasons
                     193      This case, initiated by Ohana Growth Partners LLC and their counsel, Miles &

                     Stockbridge, is built entirely on frivolous claims, perjury, and bad-faith litigation . Since the

                     lawsuit's inception, Ohana has engaged in repeated procedural misconduct, knowingly

                     submitted false evidence, and continued to file meritless motions with the primary intent of

                     harassing the defendant, Ryan Dillon-Capps, rather than seeking legitimate legal relief.


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                     194      The lawsuit is fundamentally flawed from its commencement, rooted in Richard

                     Hartman's admission of violating FMLA rights on page 4 of his affidavit, which provides

                     grounds for immediate dismissal under the unclean hands doctrine. Further, Ohana's sustained

                     use of the judicial system for improper purposes over the last four months represents a clear

                     abuse of process, warranting dismissal with prejudice and severe sanctions.

                     195      Here are the eight primary grounds supporting the dismissal with prejudice:


                     1        Unclean Hands Doctrine - Invalidatin~ the Lawsuit
                     196      The cornerstone of Ohana's misconduct lies in their admitted violation of FMLA

                     rights, as reflected in Richard Hartman's affidavit. Under the unclean hands doctrine, parties

                     who engage in unlawful or unethical behavior cannot seek equitable relief from the court.

                     Hartman's admission of illegal retaliation against Dillon-Capps disqualifies Ohana from

                     pursuing this lawsuit from the outset, making any request for injunctive relief or equitable

                     remedy legally void.

                     197      Keystone Driller Co. v. General Excavator Co., 290 U.S. 240 (1933) emphasized that

                     equitable relief is barred for parties with unclean hands.

                     198      This case should therefore be dismissed, and Ohana should be prohibited from receiving

                     any equitable remedy.



                     2        Bad-Faith Liti~ation- Four Months of Frivolous Filin~s
                     199      Since the filing of this lawsuit, Ohana Growth Partners has engaged in a pattern of

                     bad-faith litigation, including filing frivolous motions and submitting false evidence. These

                     actions demonstrate Ohana's intent to delay proceedings and inflict financial and emotional

                     harm on Dillon-Capps rather than pursuing legitimate legal claims.

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                     200     Rule 11 sanctions are appropriate here, as Ohana' s repeated actions violate the rule's

                     requirement that filings be grounded in law and fact.


                     3       Failure to Prosecute - No Substantive Pro!ifess in Four Months
                     201     Despite filing multiple motions and oppositions, Ohana has failed to prosecute the case

                     in good faith. The continuous submission of meritless motions, all aimed at delaying the

                     litigation, constitutes failure to prosecute under Federal Rule 41(b) and Maryland Rule 2-507.

                     This prolonged inaction, combined with Ohana's bad-faith conduct, has caused significant harm

                     to Dillon-Capps and wasted valuable court resources.

                     202      Link v. Wabash R.R. Co., 370 U.S. 626 (1962) allows for dismissal when a party fails

                     to meaningfully move the case forward.


                     4       Abuse of Process - Intent to Harass and Delay
                     203      Ohana has used the judicial system not to resolve a legitimate dispute but to harass and

                     delay, making this a clear case of abuse of process. Every filing was designed to burden the

                     defendant financially, emotionally, and reputationally. Courts have consistently held that such

                     behavior constitutes abuse of process, warranting both dismissal and sanctions.

                     204      Walker v. American Security Corp., 237 Md. 80 (1964) established that using legal

                     proceedings for improper purposes constitutes abuse.


                     5       Fraudulent and Perjurious Claims
                     205      The foundation of Ohana's lawsuit is based on fraudulent claims and perjured

                     testimony. Richard Hartman and Justin Drummond made knowingly false statements under

                     oath, including claims about system access and compliance. The evidence-including Daniel




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                     Levett's affidavit--directly contradicts these assertions, proving that Ohana had administrative

                     access all along, invalidating their claim for relief.

                     206     Fraud and perjury are serious violations, and the court cannot allow claims built on such

                     misconduct to proceed.


                     6       Criminal Violations - Perjury, Fraud
                     207      Ohana and its representatives have engaged in criminal violations, including perjury,

                     fraud, and potentially witness tampering. The Affidavit of Randal Romes suggests that Ohana

                     manipulated witness testimony to further their fraudulent claims. The court should refer these

                     matters for criminal investigation to hold the responsible parties accountable.

                     208      Maryland's perjury statute (Md. Code Ann., Crim. Law§ 9-101) directly applies to

                     Ohana's fraudulent conduct.


                     7       Failure to State a Valid Claim - Rule 12<b}<6}
                     209      Even aside from the ethical misconduct, Ohana has failed to state a claim for relief

                     under Federal Rule 12(b)(6). Their central allegation-lack of access to critical systems- has

                     been proven false. Without a valid legal basis, their claims must be dismissed.

                     210      Ashcroft v. Iqbal, 556 U.S. 662 (2009) emphasized that plausible claims must be based

                     on facts, not mere assertions.

                     8        Judicial Economy - Preventin~ Further Waste of Court Resources
                     211      Allowing Ohana's baseless lawsuit to continue would waste court resources and reward

                     bad-faith litigation. Judicial economy demands the immediate dismissal of this case to prevent

                     further exploitation of the court system.




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                     9        vexatious Liti~ation
                     212      Ohana Growth Partners LLC has continuously pursued meritless and retaliatory

                     claims, knowing that their lawsuit was based on falsehoods. This persistent filing of frivolous

                     motions over a four-month period, without any legitimate basis for relief, has caused undue

                     harm to the defendant and wasted judicial resources.

                     213      Legal Precedent: In Safir v. U.S. Lines, Inc., the court outlined factors to determine

                     vexatious litigation, including motive and the merit of claims. Ohana's fraudulent claims fit

                     squarely within these factors, and they have used the courts to harass Ryan Dillon-Capps.

                     214      The court should issue an injunction barring Ohana from filing further claims without

                     judicial approval to prevent future abuse after they dismiss with prejudice.


                     1o       Intentional Infliction of Emotional Distress (IIEP}
                     215      The intentional and retaliatory nature of Ohana's litigation has caused significant

                     emotional and physical harm to Dillon-Capps, resulting in severe emotional distress. Ohana' s

                     deliberate actions, including using litigation as a weapon, have caused mental and financial

                     exhaustion.

                     216      Maryland Law: The IIED tort under Maryland law provides a basis for damages when

                     actions are deliberate and malicious. Ohana's behavior, specifically the false imprisonment

                     attempts and harassing litigation, fits this definition - along with the basis to dismiss with

                     prejudice


                     11       Pattern of Fraud and Misrepresentation
                     217      Ohana's entire lawsuit is based on fraudulent claims and perjured statements,

                     particularly by Richard Hartman and Justin Drummond. The Affidavit of Daniel Levett


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                     proves that Ohana had the necessary Global Administrator access, contradicting their central

                     claim. This fraud constitutes a complete lack of factual basis for the lawsuit.

                     218      Legal Grounds: Federal Rule 12(b)(6) requires dismissal when the plaintiff fails to

                     state a valid claim. Since the lawsuit is built on fabrications, it should be dismissed with

                     prejudice


                     12       Violation of the SupremaQy Clause
                     219      Ohana's admitted violation of FMLA protections undermines the legal foundation of

                     their lawsuit. This directly violates the Supremacy Clause of the U.S. Constitution, which

                     precludes any relief for parties acting in violation of federal law. Ohana has attempted to shift

                     the blame for their own illegal retaliation.

                     220      Legal Precedent: In Cooper v. Aaron, the U.S. Supreme Court reinforced the principle

                     that federal law overrides state actions, barring relief to violators like Ohana, and resulting in

                     the court dismissing of this case with prejudice.


                     13       Witness Tamperin~
                     221      Ohana and Miles & Stockbridge are implicated in witness tampering, as demonstrated

                     by the Affidavit of Randal Romes, which suggests that testimony was manipulated to advance

                     Ohana's false claims. This type of misconduct, aimed at falsifying evidence, strikes at the heart

                     of the judicial process and must not be tolerated. Witness tampering alone provides sufficient

                     grounds for dismissal with prejudice and referral for criminal investigation.

                     222      Legal Standard: Witness tampering is both a criminal act and a clear ethical violation,

                     warranting severe sanctions and dismissal.




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                     SUMMARY AND CONCLUSION
                     223      Based on the facts presented and the evidence supporting Ohana's bad-faith conduct,

                     there are now 13 independent grounds for dismissing this case with prejudice:


                           1. Unclean Hands Doctrine - Invalidating the Lawsuit

                                  o   Ohana's admission ofFMLA violations renders them ineligible to seek any

                                      form of equitable relief under the unclean hands doctrine.

                           2. Bad-Faith Litigation - Four Months of Frivolous Filings

                                  o   Ohana's repeated meritless filings and use of the court system for retaliatory

                                      purposes over the past four months justify dismissal under Rule 11 sanctions.

                           3. Failure to Prosecute - No Substantive Progress

                                  o   Despite multiple filings, Ohana has failed to advance the case substantively,

                                      amounting to failure to prosecute under Rule 41(b) and Maryland Rule 2-507.

                           4. Abuse of Process - Intent to Harass and Delay

                                  o   Ohana's filings were not designed to resolve legitimate claims but to harass and

                                      delay, constituting abuse of process.

                           5. Fraudulent and Perjurious Claims

                                  o   Ohana's lawsuit is built on falsehoods and perjured testimony, particularly by

                                      Richard Hartman and Justin Drummond, invalidating their claims.

                           6. Criminal Violations - Perjury, Fraud

                                  o   Ohana and its representatives engaged in criminal violations, including perjury

                                      and fraud, justifying dismissal and criminal referral for investigation.

                           7. Failure to State a Valid Claim -Rule 12(b)(6)
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                                  o   Ohana's central claims are based on provably false assertions, failing to meet

                                      the standard for a valid legal claim under Rule 12(b)(6).

                         8. Judicial Economy - Preventing Further Waste of Court Resources

                                  o   Allowing Ohana's baseless lawsuit to continue would waste judicial resources

                                      and reward bad-faith litigation, violating the principle of judicial economy.

                         9. Vexatious Litigation

                                  o   Ohana engaged in vexatious litigation, pursuing meritless claims to harass

                                      Dillon-Capps over the four-month period. Dismissal with prejudice is essential to

                                      prevent further abuse.

                          10. Intentional Infliction of Emotional Distress (IIED)


                         •    Ohana's retaliatory actions were designed to cause emotional and physical harm to

                              Dillon-Capps, leading to severe emotional distress.


                          11 . Pattern of Fraud and Misrepresentation


                         •    Ohana's entire lawsuit is built on fraudulent claims and perjured statements,

                              undermining the factual basis for the lawsuit.


                          12. Violation of the Supremacy Clause


                         •    Ohana's violation of federal FMLA law disqualifies them from seeking relief under the

                              Supremacy Clause, making their claims invalid from the start.


                          13. Witness Tampering


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                           •    Ohana and their counsel engaged in witness tampering, as evidenced by Randal

                                Romes' affidavit, warranting dismissal with prejudice and criminal referral.


                     224        The overwhelming evidence of fraud, perjury, retaliatory litigation, and witness

                     tampering leaves no doubt that this case was pursued in bad faith from the very beginning. The

                     court must act decisively to:

                                1.        Dismiss this case with prejudice, preventing Ohana from seeking any further

                                claims.

                                2.        Impose severe sanctions on Ohana and Miles & Stockbridge for their bad-

                                faith litigation and procedural misconduct.

                                3.        Refer the matter for criminal investigation due to perjury, fraud, and witness

                                tampering throughout these proceedings.

                     225        The dismissal with prejudice is necessary to protect the integrity of the court, uphold

                     judicial economy, and deter future abuse of the legal system. The 13 grounds presented are not

                     only legally sound but also essential for ensuring justice and fairness in this case.


                        B      Motion to Disgualify Miles & Stockbrid~e for Ethical Violations and Misconduct
                     226        The disqualification of Miles & Stockbridge as counsel for Ohana Growth Partners

                     LLC is not only warranted but essential to uphold the integrity of this court and the legal system .

                     From the outset of this litigation, Miles & Stockbridge has knowingly engaged in bad-faith

                     litigation, submitted false affidavits, and perpetuated fraudulent claims. Their actions, which

                     have misled this court and caused significant harm to the defendant, Ryan Dillon-Capps,




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                     represent a clear violation of their ethical duties under both the Maryland Rules of Professional

                     Conduct and federal standards governing attorney conduct.

                     227     The evidence overwhelmingly supports the conclusion that Miles & Stockbridge have

                     actively facilitated perjury, obstructed the judicial process, and engaged in a sustained effort to

                     prevent the defendant from receiving a fair trial. Their participation in the submission of

                     fraudulent evidence, including false statements by Richard Hartman and Justin Drummond,

                     constitutes a breach of ethical duties and raises serious questions about their fitness to continue

                     as legal counsel in this case.


                     1       Active Participation in Bad-Faith Liti~ation
                     228     Miles & Stockbridge knowingly pursued frivolous claims and filed baseless motions

                     designed to harass and delay. Over the course of four months, their filings were intended not to

                     seek justice but to obstruct the judicial process and retaliate against Dillon-Capps for his lawful

                     actions in exposing Ohana's internal violations, including their FMLA violations. Under Rule

                     11 and the unclean hands doctrine, Miles & Stockbridge's actions justify severe sanctions,

                     including disqualification.


                     2        Submission of False Evidence and Perjuzy
                     229     The law firm submitted perjured affidavits from Hartman and Drummond, knowingly

                     presenting false testimony to this court. Their failure to correct these falsehoods and their

                     continued reliance on fraudulent statements represent a willful breach of their duty of candor

                     toward the court, in violation of Model Rule of Professional Conduct 3.3. This violation of

                     basic ethical duties undermines the legitimacy of the entire legal process.

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                     3        Conflict of Interest and Ethical Breaches
                     230      By participating in the fraudulent claims of Ohana, Miles & Stockbridge created a

                     clear conflict of interest. Their representation of a client engaged in illegal actions-including

                     perjury and witness tampering-renders them incapable of upholding their obligations to both

                     their client and the court. The court should also consider waiving the attorney-client privilege

                     between Ohana and Miles & Stockbridge, as their communications may reveal further

                     unethical conduct.


                     4        Witness Tampering and Obstruction of Justice
                     231      Evidence suggests that Miles & Stockbridge engaged in witness tampering, particularly

                     regarding Randal Romes' affidavit, which showed signs of influence or manipulation. By

                     obstructing the presentation of truthful evidence, Miles & Stockbridge not only violated ethical

                     standards but engaged in actions that could warrant criminal investigation. Their role in

                     presenting fraudulent claims constitutes obstruction of justice and further supports their

                     disqualification.


                     5        Breach of Ethical Standards under Mazyland Law
                     232      Under Maryland's Rules of Professional Conduct, attorneys must act in a manner that

                     upholds the integrity of the legal process. Miles & Stockbridge failed to do so by facilitating a

                     lawsuit based on perjury, fraud, and misrepresentation. The court should refer Miles &

                     Stockbridge for an ethical review by the Maryland State Bar to determine the appropriate

                     level of disciplinary action.




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                     6        Disgµalification to Preserve fodicial Inte~rity
                     233      The court has a duty to maintain the integrity of the judicial system. Allowing Miles &

                     Stockbridge to continue as counsel in this matter would further compromise the fairness and

                     transparency of these proceedings. Their disqualification is essential to ensuring that the

                     defendant receives a fair trial and that the judicial process is not further abused by their bad-

                     faith actions.


                     DISQUALIFICATION OF MILES & STOCKBRIDGE IS NECESSARY
                     234      The facts overwhelmingly show that Miles & Stockbridge have breached their ethical

                     duties and engaged in fraudulent litigation practices. Their involvement in perjury, witness

                     tampering, and the filing of frivolous claims disqualifies them from continuing as counsel for

                     Ohana Growth Partners LLC. The court must act decisively to:

                              I.      Disqualify Miles & Stockbridge as counsel for Ohana Growth Partners LLC.

                              2.      Refer the firm for ethical review by the Maryland State Bar.

                              3.      Waive attorney-client privilege to allow for the full discovery of their

                              participation in the fraudulent conduct.

                              4.      Refer for criminal investigation regarding perjury, witness tampering, and

                              obstruction of justice.

                     235      Disqualification is not only justified but essential to preserving the integrity of these

                     proceedings and ensuring that justice is served.


                                         c Motion for A Better Maryland with Reciprocal Relief

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                     236       Ohana Growth Partners LLC and their counsel, Miles & Stockbridge, have engaged

                     in a baseless lawsuit rooted in fraud, perjury, and deliberate misrepresentation. Despite the

                     clear evidence that Ohana already had administrative access to the systems in question-

                     evidence confirmed through David Levett's testimony-they falsely claimed that Ryan Dillon-

                     Capps was non-compliant. These fraudulent claims were not brought in pursuit of justice but

                     were aimed at weaponizing the court system to financially cripple Dillon-Capps in retaliation

                     for his lawful actions, including exercising his rights under FMLA and ADA.

                     237       Furthermore, Ohana and their counsel sought to impose severe financial penalties on

                     Dillon-Capps, demanding daily fines of $2,500 per day for alleged non-compliance, knowing

                     full well that their claims were fabricated. This blatant attempt to manipulate the judicial process

                     for personal and retaliatory gain demands reciprocal relief-imposing on Ohana the very

                     penalties and costs they sought to unjustly inflict on Dillon-Capps.


                     1         Reciprocal PenaltY of $2,500 Per Day Per Person for 13 Key Individuals
                     238       Ohana initially sought to impose a $2,500 daily penalty on Dillon-Capps based on false

                     claims of non-compliance and obstructed access. Given that these accusations have been

                     thoroughly debunked by the facts, it is both equitable and just that the same $2,500 daily penalty

                     be imposed on Ohana for each of the 13 individuals involved in advancing these fraudulent

                     claims.

                     239       The following individuals played direct roles in perpetuating this fraudulent litigation and

                     should each be subject to the $2,500 per day penalty:


                           1. Glenn Norris
                           2. Victor Brick
                           3. Richard Hartman

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                           4. Justin Drummond
                           5. Ryan Brooks
                           6. David Levett
                           7. Randall Romes
                           8. Robert Brennen
                           9. Steven Frenkil
                           10. Holly Butler
                           11. Kim Edwards
                           12. Jessica Duvall
                           13. Victoria Klein

                     240      For each day since the false claims were filed, these individuals should collectively bear

                     the $2,500 daily penalty that they sought to unjustly impose on Dillon-Capps. The financial

                     burden they attempted to inflict through procedural abuse and lies should now be reciprocally

                     applied to them .


                     2        Reciprocal Relief for All of Ohana and Miles & Stockbridge's Legal Costs
                     241      In addition to the penalties, Ohana and Miles & Stockbridge sought to use litigation as a

                     weapon of financial destruction, making unjust demands for legal fees, costs, and fines based

                     on fabricated claims. These costs were not sought to remedy legitimate harm but to punish

                     Dillon-Capps for exercising his legal rights. As such, the same reciprocal relief should now

                     apply to Ohana and their counsel.

                     242      The court should impose reciprocal financial liability on Ohana and Miles &

                     Stockbridge for:

                              I.      All legal fees and costs they sought to recover from Dillon-Capps, despite the

                              fraudulent basis of their lawsuit.

                              2.      The full legal expenses of Miles & Stockbridge, billed while advancing a

                              fabricated case, should now be borne entirely by Ohana.



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                     243      Under Deleon Enterprises, Inc. v. Zaino, Maryland law permits the recovery of

                     attorney's fees when litigation is pursued in bad faith. In this case, Ohana and their counsel

                     sought unjust enrichment through a lawsuit based on false premises. Therefore, they should be

                     held financially responsible for all reciprocal costs, including their own counsel's fees, which

                     were incurred while advancing fraudulent and retaliatory claims.

                     244      Reciprocal relief is the most equitable remedy. Since Ohana falsely pursued litigation

                     and demanded penalties grounded in falsehoods, they should bear the total cost of all legal

                     expenses they sought to impose on Dillon-Capps. This includes covering their own counsel ' s

                     fees, as these were incurred to further fraudulent claims.


                     3        Establishin~ a Critical Precedent for Maryland
                     245      Granting reciprocal relief in this case serves a crucial public interest by establishing a

                     precedent for all litigants in Maryland. When bad-faith litigants attempt to misuse the court

                     system to harass or financially harm others, they should face equivalent penalties. The court

                     must be empowered to reciprocate the costs and penalties that bad-faith litigants seek to

                     impose on others.


                     By granting reciprocal relief, this court will:

                              1.        Protect the integrity of Maryland's judicial system, signaling that Maryland

                              courts will not tolerate parties who file frivolous lawsuits based on lies and procedural

                              gamesmanship.

                              2.        Deter future misuse of the court system by ensuring that litigants who abuse the

                              legal process face the same financial and legal burdens they sought to impose on

                              others.

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                             3.       Promote fairness and justice by ensuring that no party can exploit the legal

                             process for retaliatory purposes without being held accountable for the harm they cause.


                     4       Public Policy Justifications for Reciprocal Relief
                     246     Ensuring Judicial Integrity and Deterring Frivolous Litigation

                     The integrity of the judicial system depends on the court's ability to distinguish between

                     legitimate claims and those brought for improper purposes. By granting reciprocal relief, this

                     court will establish a critical precedent that sends a strong message to future litigants: Fraudulent

                     lawsuits brought in bad faith will result in significant financial consequences.

                              1.      Judicial resources are finite. If courts allow frivolous litigation to proceed

                              without strong sanctions, it creates a ripple effect that not only harms the immediate

                              parties but also clogs the legal system , delaying justice for those with legitimate claims.

                             Reciprocal penalties of $2,500 per day per person will dissuade future litigants from

                              misusing the judicial process as a weapon.

                     247     Preserving Access to Justice for All Litigants

                     Frivolous litigation not only burdens the courts but also prevents access to justice for other

                     parties with valid claims. By imposing significant financial penalties on Ohana and their

                     counsel, this court will protect the accessibility of the courts, ensuring that individuals and

                     businesses are not dissuaded from pursuing legitimate claims due to fear of retaliatory

                     lawsuits.

                              1.      Garay v. Overholtzer demonstrates that when litigation is used for harassment

                              or retaliation, sanctions are necessary to restore fairness. In this case, Dillon-Capps

                              was targeted for exercising his FMLA and ADA rights. Reciprocal relief will not only


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                              compensate him but also restore equity by holding those who weaponized the courts

                              accountable.

                     248      Establishing Maryland as a Forum Free from Legal System Abuse

                     The court's decision here has the power to set an important precedent for Maryland . By granting

                     reciprocal relief, this court will signal that Maryland courts are not venues for frivolous or

                     retaliatory litigation. This will deter future bad actors and protect Maryland's legal environment,

                     ensuring it remains a forum for legitimate disputes.


                     RECIPROCAL RELIEF IS THE ONLY JUST REMEDY
                     249      The actions ofOhana Growth Partners LLC and their counsel, Miles & Stockbridge,

                     have been shown to be fraudulent and unjustifiable. Their demands for $2,500 daily penalties

                     and recovery of legal fees were based on fabricated claims designed to punish Dillon-Capps

                     for defending his rights. The reciprocal application of these penalties and costs is not only

                     equitable but necessary to restore balance and protect the judicial system from further abuse.


                     Accordingly, this court should:

                              1.      Impose daily penalties of $2,500 per day per person on each of the 13 individuals

                              involved in Ohana' s fraudulent litigation, retroactive to the date of the initial claims.

                              2.      Require Ohana Growth Partners LLC and Miles & Stockbridge to bear all legal

                              costs and fees that they sought to impose on Dillon-Capps, ensuring that the financial

                              burden of their bad-faith litigation is fully reciprocated.

                              3.      Establish a precedent for Maryland courts that will deter future litigants from

                              using the legal system as a weapon of harassment and financial harm, ensuring that

                              parties acting in bad faith face severe reciprocal consequences.

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                     250     This reciprocal relief will not only compensate for the harm caused but will safeguard

                     Maryland's judicial system from future abuse.


                                    D   Motion to Impose Sanctions not Sanction Fraudulent Lawsuits
                     251     List of Potential Causes for Sanctions Against Ohana Growth Partners and Miles &

                     Stockbridge:


                     1       Fraud and Perjuzy
                     252     Ohana Growth Partners, LLC, and their representatives, Richard Hartman and Justin

                     Drumi;nond, deliberately provided false testimony under oath regarding system access and

                     compliance. These falsehoods were made to intentionally mislead the court, constituting perjury

                     in violation of Mary land's perjury statute (Md. Code Ann., Crim. Law § 9-10 l ).


                     2       Abuse of Process
                     253     The lawsuit filed by Ohana Growth Partners, LLC was not intended to resolve a

                     legitimate legal dispute but instead was wielded as a tool for harassment and delay. The repeated

                     filing of meritless claims, designed to impose financial and emotional burdens on the defendant,

                     constitutes clear abuse of process.


                     3       Bad-Faith Liti~ation
                     254      For over four months, Ohana Growth Partners engaged in bad-faith litigation by filing

                     frivolous motions and advancing fraudulent claims. These actions were pursued with the intent to

                     retaliate against the defendant, in violation of Federal Rule 11 and Maryland Rule 1-341 , both of

                     which prohibit filings unsupported by proper legal and factual grounds.




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                     4        Obstruction of Evidence
                     255      Miles & Stockbridge deliberately obstructed the defendant' s access to critical evidence,

                     particularly the transcript from the June 26, 2024 hearing. By imposing improper conditions on

                     its release, they prevented the defendant from obtaining key documents essential to his defense,

                     violating Rule 3.4(a) on fairness in evidence.


                     5        Unclean Hands Doctrine
                     256      Richard Hartman's explicit admission in his affidavit of violating FMLA rights

                     irrevocably disqualifies Ohana Growth Partners from seeking any form of equitable relief. The

                     unclean hands doctrine bars any party from obtaining relief when their conduct in connection

                     with the case has been fraudulent or unethical.

                     6        Conspiracy to Commit Fraud
                     257      Ohana Growth Partners, LLC, and their counsel, Miles & Stockbridge, conspired to

                     submit false claims and misrepresentations in court. They jointly created and relied upon

                     fraudulent documentation to support a meritless lawsuit. This collaboration to knowingly present

                     false information is a violation of ethical and legal standards, fully warranting sanctions.


                     7        Obstruction of Justice
                     258      Ohana Growth Partners and their counsel deliberately obstructed justice by withholding

                     key evidence and manipulating witness testimony. Their actions, including potential witness

                     tampering and refusal to release crucial transcripts, violated the integrity of the judicial process

                     and impaired the defendant's ability to mount an effective defense.




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                     s       False Imprisonment {Attempted)
                     259     Ohana Growth Partners wrongfully attempted to use judicial sanctions to incarcerate

                     Ryan Dillon-Capps by pursuing fraudulent claims. The Second Show Cause Order, which

                     threatened imprisonment without legal merit, constitutes a clear attempt at false imprisonment

                     under the guise of judicial authority.


                     9       Fraudulent Lawsuit
                     260     The lawsuit initiated by Ohana Growth Partners was entirely fraudulent, relying on false

                     allegations that Dillon-Capps obstructed access to critical systems. David Levett' s affidavit

                     unequivocally demonstrated that Ohana had full access to these systems, making their claims

                     baseless and fraudulent. This blatant misuse of the judicial system demands sanctions for filing a

                     fraudulent lawsuit.


                     1o      Vexatious Liti~ation
                     261     Ohana Growth Partners engaged in a sustained pattern of vexatious litigation, filing

                     frivolous motions and baseless claims with the sole intent of harassing and financially crippling

                     Ryan Dillon-Capps. This conduct reflects a gross misuse of the legal system, fully justifying

                     sanctions to deter such abuse in the future.


                     11      Reckless Endan~erment and Ne~li~ence
                     262      Ohana Growth Partners, LLC, and Miles & Stockbridge recklessly exposed Ryan Dillon-

                     Capps to significant emotional, financial , and physical harm by pursuing a baseless lawsuit and

                     engaging in continuous bad-faith litigation. Their reckless disregard for the truth and the

                     consequences of their actions demonstrates negligence and reckless endangerment, fully

                     justifying sanctions.


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                     12       Le2aI Malpractice
                     263      Miles & Stockbridge committed legal malpractice by knowingly filing and pursuing

                     frivolous claims on behalf of Ohana Growth Partners. Their conduct violated their professional

                     duty to ensure that their legal representations were truthful and factually supported. This breach

                     of ethical obligations under the Maryland Rules of Professional Conduct demands sanctions,

                     including potential disqualification.


                     13       Estqppel
                     264      Ohana Growth Partners engaged in conduct that prevented Dillon-Capps from fulfilling

                     his legal obligations while accusing him of non-compliance. This created a legal estoppel,

                     barring them from claiming any failure on Dillon-Capps ' part, as they intentionally obstructed

                     his ability to comply. This manipulation of the legal process further justifies sanctions.


                     14       Intentiqnal Inflictiqn qf Emqtiqnal Distress OIED)
                     265      The malicious and retaliatory tactics employed by Ohana Growth Partners and Miles &

                     Stockbridge caused severe emotional distress to Ryan Dillon-Capps. Their deliberate misuse of

                     the legal system, including false imprisonment threats and bad-faith litigation, justifies punitive

                     sanctions under the claim oflntentional Infliction of Emotional Distress (lIED).

                     15       Judicial Ecqnqmy
                     266      Ohana's continuous misuse of the court system has wasted valuable judicial resources

                     and significantly delayed justice. Their filing ofmeritless claims and engagement in bad-faith

                     litigation has imposed unnecessary strain on the court. Sanctions are necessary to preserve

                     judicial economy and prevent further waste of resources.




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                         16       Witness Jamperinfi
                         267      Ohana Growth Partners and Miles & Stockbridge are implicated in potential witness

                         tampering, specifically regarding the manipulation of Randal Romes' affidavit. While the

                         evidence is circumstantial, it suggests that Ohana may have influenced or altered testimony to

                         support their false claims. Witness tampering is a serious violation that undermines the integrity

                         of the judicial process and justifies severe sanctions if substantiated.


                         17       Criminal Violations -Perjuzy and Fraud
                         268      In addition to civil misconduct, Ohana Growth Partners and its representatives committed

                         potential criminal violations, including perjury and fraud. By submitting false affidavits and

                         knowingly advancing fraudulent claims, they violated Maryland criminal statutes, warranting

                         referral for criminal investigation. These violations reinforce the need for significant sanctions in

                         the current civil proceedings.


                         18       Contempt of Court
                         269      Ohana Growth Partners and their counsel engaged in repeated contempt of court by

                         disobeying court orders and continuing to file frivolous motions and fraudulent claims. Their

                         blatant disregard for the court's authority and the judicial process constitutes contempt, justifying

                         sanctions, including fines or imprisonment, to halt their ongoing misconduct.


                         19      Failure to State a Valid Claim - Rule 12(b)(6)
                         270      Ohana Growth Partners failed to state a valid legal claim, as their allegations were

                         grounded in falsehoods. The claim regarding lack of access to systems was conclusively

                         disproven by the affidavit of David Levett. Without a valid legal basis, their lawsuit should have




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                     been dismissed at an early stage, and their pursuit of this baseless case warrants sanctions under

                     Rule 12(b)( 6).


                     20       Violation of the SupremaQy Clause
                     271      Ohana Growth Partners' admitted violation of the Family and Medical Leave Act

                     (FMLA) directly undermines their legal standing. Federal law, as established by the Supremacy

                     Clause of the U.S. Constitution, preempts state actions that conflict with federal statutes. Ghana's

                     violation of federal law bars them from seeking equitable relief, fully justifying sanctions.


                     21       Malicious and Bad-Faith Defamation Claims
                     272      Ohana Growth Partners and their representatives made defamatory statements during

                     litigation, falsely accusing Ryan Dillon-Capps of misconduct. These defamatory claims were

                     made in bad faith as part of their retaliatory strategy, damaging Dillon-Capps' reputation. This

                     malicious defamation further justifies sanctions.


                     22       False Imprisonment (Attempted)
                     273      Ohana Growth Partners attempted to falsely imprison Dillon-Capps by pursuing baseless

                     judicial orders, including the Second Show Cause Order, which threatened incarceration based

                     on fraudulent claims. This misuse of judicial authority for wrongful purposes constitutes an

                     attempted false imprisonment and warrants severe sanctions.


                     23       Vexatious Liti~ation - Retaliatory in Nature
                     274      The entire lawsuit filed by Ohana Growth Partners was retaliatory in nature, aimed at

                     harassing Dillon-Capps for exposing their internal misconduct, including violations of the

                     Family and Medical Leave Act (FMLA). This pattern of vexatious litigation was intended to




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                     punish rather than resolve legitimate disputes, fully justifying sanctions and dismissal with

                     prejudice.


                     24       Failure ofLe2al Obli2ations -PCI oss Compliance
                     275      Ohana Growth Partners failed to meet their legal obligations, including compliance with

                     PCI DSS standards. Affidavit evidence shows that their failure to secure sensitive data and

                     adhere to legal standards was central to their retaliatory actions against Dillon-Capps. This

                     reckless disregard for legal obligations justifies sanctions.


                     25      Breach of Contract and Fraudulent Contract Claims
                     276      Ohana' s lawsuit is built on fraudulent contract claims. Their reliance on incomplete or

                     misrepresented contracts, coupled with their bad-faith litigation, constitutes a breach of contract

                     under Maryland law. These fraudulent contract claims, pursued in bad faith , warrant sanctions

                     and dismissal of their case.


                                          E   Motion to Yacatur the Iemporazy Restrainin2 Order
                     277      The Temporary Restraining Order (TRO) and Preliminary Injunction obtained by Ohana

                     Growth Partners, LLC were secured through fraudulent claims, perjured statements, and bad-

                     faith litigation. The basis of their claims was entirely fraudulent, as proven by David Levett' s

                     affidavit, which clearly disproves Ohana' s central allegations, particularly regarding system

                     access. Furthermore, Ohana' s conduct-including Richard Hartman ' s admission of violating the

                     Family and Medical Leave Act (FMLA)--bars them from seeking any equitable relief under the

                     doctrine of unclean hands.

                     278      Ohana' s bad-faith conduct, marked by FMLA violations and compounded by perjury and

                     obstruction of evidence, disqualifies them from maintaining any injunctive relief. The wrongful

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                     imposition of judicial restraints on Dillon-Capps' rights and business activities, based on

                     knowingly false claims and a fraudulent foundation, compels the immediate vacatur of the TRO

                     and Preliminary Injunction. To allow these fraudulently obtained orders to stand would be a

                     miscarriage of justice and a blatant abuse of the judicial process.

                     279     Therefore, the Temporary Restraining Order and Preliminary Injunction must be

                     vacated in their entirety, with prejudice.

                     280      Ohana's fraudulent actions in securing the TRO, through perjured statements and

                     deliberate misrepresentations, alongside their disqualification from relief due to FMLA

                     violations, fully justify vacatur. The evidence provided by Daniel Levett not only exposes the

                     baselessness of their claims but confirms that the TRO was unjustly obtained through fraud and

                     false testimony.

                     281      The court must acknowledge both Ohana's violation of FMLA and their reliance on

                     fraudulent claims and perjured statements, invalidating their entitlement to any injunctive relief.

                     To preserve the integrity of the judicial process, the TRO should be vacated, with clear

                     recognition of the fraudulent and unethical means by which it was secured.

                     282      Accordingly, the Temporary Restraining Order should be vacated immediately,

                     with the court explicitly noting that it was obtained through perjured statements,

                     misrepresentation, and barred by unclean hands due to FMLA violations.


                                   F    Motion for Injunction to Prevent Future Abuse of Court Process
                     283      Given the egregious and sustained abuse of the judicial process by Ohana Growth

                     Partners, LLC, and Miles & Stockbridge, it is necessary to issue an injunction that goes beyond

                     this case alone. Ohana and their counsel have engaged in vexatious litigation, knowingly filed

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                     fraudulent claims, and acted in bad faith, all with the intent to harass and harm Ryan Dillon-

                     Capps. Their conduct has not only undermined this specific case but poses an ongoing threat to

                     the judicial system ifleft unchecked.

                     284      Therefore, the court should issue an injunction barring Ohana Growth Partners, LLC, and

                     Miles & Stockbridge from filing any further claims or motions not only in this case but also in

                     any future litigation involving Ryan Dillon-Capps, without prior judicial approval.


                     This injunction should extend to the following:

                              1.      In this case: No further claims or motions may be filed without explicit court

                              approval, to prevent continued vexatious filings.

                              2.      In any future litigation against Ryan Dillon-Capps: Ohana and their counsel

                              must seek judicial approval before filing any new lawsuits or motions involving Dillon-

                              Capps to prevent harassment through legal abuse.

                              3.      In any representation involving litigation with Dillon-Capps: Should Miles &

                              Stockbridge or any other representative of Ohana pursue litigation related to Dillon-

                              Capps, judicial oversight is required to ensure the integrity of the court system.

                              4.      For all new lawsuits filed by Ohana: Given the extent of the misconduct in this

                              case, judicial approval should be required for Ohana Growth Partners to file any new

                              lawsuits against any party, to prevent further misuse of the court system.

                     285      This expanded injunction is necessary to protect both Dillon-Capps and the broader

                     judicial system from future abuse. Ohana and their counsel have demonstrated a pattern of bad-

                     faith litigation, perjury, and fraudulent conduct, justifying this broad preventative measure.



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                     Without such judicial oversight, they pose a serious risk of continuing their vexatious and

                     abusive practices.

                     286     Accordingly, the court should issue a broad injunction requiring judicial approval before

                     Ohana Growth Partners, LLC, and Miles & Stockbridge can file any further legal actions-

                     whether in this case, in future litigation involving Ryan Dillon-Capps, or in any new lawsuits

                     they seek to initiate.


                                              G    Referral for Criminal & Ethical Investi~ation
                     287     Based on a comprehensive review of the document and relevant Maryland criminal

                     statutes, here is a comprehensive list of potential criminal violations that could be referred for

                     investigation based on the conduct of Ohana Growth Partners, LLC, their representatives

                     (including Richard Hartman, Glenn Norris, Victor Brick, and Justin Drummond), and their

                     counsel:


                     1       Perjuzy <Md. Code Ann,, Crim. Law§ 9-101)
                     288     Key Violations: Ohana representatives, particularly Richard Hartman and Justin

                     Drummond, provided false statements under oath regarding system access and compliance.

                     These knowingly false statements amount to perjury.


                     2       Fraud (Md. Code Ann,, Crim. Law § 8-101)
                     289      Key Violations: Ohana Growth Partners engaged in fraudulent conduct by knowingly

                     filing false claims in court, including fabricating allegations about the defendant obstructing

                     access to critical systems. Their intent to mislead the court and gain an unjust advantage makes

                     this a clear case of fraud.



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                     3         Witness Iamperin~ (Md, Code Ann,, Crim, Law§ 9-305)
                     290       Key Violations: Evidence suggests that Ohana, through its representatives or counsel,

                     manipulated or influenced Randal Romes' affidavit to support their false claims. This constitutes

                     witness tampering, as it involves an attempt to obstruct the presentation of truthful testimony.

                     4         Obstruction of Justice (Md, Code Ann,, Crim. Law§ 9-306)
                     291       Key Violations: By withholding critical evidence, particularly the transcript from the

                     June 26, 2024 hearing, and engaging in misleading actions to block discovery efforts, Ohana and

                     their counsel actively obstructed justice, hindering the defendant's ability to defend himself

                     effectively.

                     5         False Imprisonment (Md. Code Ann,, Crim. Law§ 3-701)
                     Key Violations: Ohana's efforts to pursue baseless judicial sanctions that included threats of

                     incarceration against the defendant through fraudulent claims amount to attempted false

                     imprisonment under Maryland law.


                     6         Conspiracy to Commit Fraud (Md, Code Ann,, Crim. Law § 8-107)
                     292       Key Violations: Ohana Growth Partners, along with their legal counsel, conspired to

                     create and submit false claims, misrepresentations, and fraudulent documentation to the court.

                     This conspiracy involved multiple parties working together to knowingly deceive the judicial

                     system.


                     7         Computer Fraud-Exceedin" Authorized Access (Md. Code Ann., Crim. Law§ 7-
                     JQ2)
                     293       Key Violations: There is evidence that Ohana and its agents engaged in unauthorized

                     access or manipulation of computer systems, violating data security protocols and state laws.




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                     This violation, in conjunction with their other actions, reinforces the need for criminal

                     investigation.


                     8    Deceptive Trade Practices - Misrepresentation of Compliance CMd. Code Ann..
                     Com. Law§ 13-301(9))
                     294      Key Violations: Ohana falsely represented their compliance with PCI DSS and other

                     legal standards while engaging in practices that violated those standards. This constitutes a

                     deceptive trade practice, designed to mislead both the court and opposing parties.


                     9        FMLA Violations (29 U.S.C. § 2615)
                     295      Key Violations: Ohana admitted to violating the Family and Medical Leave Act

                     (FMLA), constituting a federal offense. This violation not only impacts civil liability but further

                     disqualifies them from equitable relief under the unclean hands doctrine.


                     10       Retaliation C22 u.s.c. § 2615fa)(2))
                     296      Key Violations: Ohana's litigation against Dillon-Capps, including the false claims and

                     threats of legal action, was in retaliation for his exercise of rights under the FMLA. Such

                     retaliatory conduct is prohibited under federal law and warrants investigation.


                     11       For~ery (Md. Code Ann., Crim. Law§ 8-601)
                     297      Key Violations: If any documents submitted to the court were falsified, including

                     affidavits or other official filings, this could constitute forgery. The manipulation of evidence or

                     documents to mislead the court would qualify as a violation of forgery statutes.




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                     12    Pervertin~ the Course of Justice <Obstruction of Le~al Process) <Md, Code Ann ..
                     Crim. Law § 9-306)
                     298       Key Violations: Beyond simple obstruction, Ohana's actions-including submitting

                     fraudulent claims, manipulating evidence, and withholding documents-can be viewed as an

                     attempt to pervert the course of justice by corrupting legal proceedings and misleading the court.


                     13        Submission of False Documents to the Court <Md, Code Ann., Crim. Law § 8-
                     fillfil
                     299       Key Violations: Ohana Growth Partners, through their legal counsel, may have

                     submitted false or fraudulent documents to the court as part of their litigation strategy. This

                     includes any forged or knowingly false affidavits, contracts, or compliance documents.


                     14        Fraudulent Misrepresentation <Md. Code Ann .. Crim. Law § 8-103)
                     300       Key Violations: Ohana repeatedly made false statements regarding Dillon-Capps'

                     conduct, system access, and other crucial matters to deceive both the court and third parties, such

                     as service providers or technical experts. This pattern of fraudulent misrepresentation reinforces

                     their criminal liability.

                     15        Coercion <Md, Code Ann., Crim, Law§ 3-701 et seg.)
                     301       Key Violations: If Ohana or their representatives used threats of legal action or

                     incarceration (through false claims) to coerce Dillon-Capps into compliance with unlawful

                     demands, it could constitute coercion, especially if these threats were used to force actions that

                     violate his rights.




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                     16      Defamation <Md, Code Ann., Crim, Law§ 10-402)
                     302     Key Violations: In pursuing their fraudulent claims, Ohana made defamatory statements

                     about Dillon-Capps' professional conduct and integrity. If these false allegations were knowingly

                     made to harm his reputation, both civil and criminal defamation claims could be pursued.


                     17      Malicious Prosecution (Civil. but with Criminal Implications)
                     303      Key Violations: Ohana' s litigation was based on false claims, pursued with the intent to

                     harm Dillon-Capps rather than resolve legitimate disputes. While traditionally a civil claim, in

                     cases of malicious prosecution rooted in fraudulent or criminal behavior, criminal penalties may

                     also be sought.


                     18      Unlawful Retaliation (29 U.S.C. § 215fa)(3) - FLSA Retaliation)
                     304     Key Violations: Besides violating the FMLA, Ohana Growth Partners may have violated

                     the Fair Labor Standards Act (FLSA) if they engaged in retaliation for asserting legal rights

                     regarding working conditions, including time off or workplace complaints. This falls under

                     unlawful retaliation against an employee for engaging in protected activities.


                     19       Criminal Conspiracy (Md. Code Ann., Crim, Law § 1-202)
                     305     Key Violations: If Ohana Growth Partners, Miles & Stockbridge, and their

                     representatives worked together to fabricate evidence, coordinate perjury, or interfere with legal

                     proceedings, this could constitute criminal conspiracy. Criminal conspiracy exists when two or

                     more people agree to commit an unlawful act and take steps toward completing it.




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                     20         Subornation of Perjuzy <Md, Code Ann" Crim, Law § 9-102)
                     306        Key Violations: This offense occurs when one party induces another to commit perjury.

                     If Ohana's legal counsel or representatives encouraged others, such as witnesses or employees,

                     to provide false testimony, this would constitute subornation of perjury.


                     21         Fraudulent Use ofLe~al Process <Md. Code Ann., Crim, Law§ 9-302)
                     307        Key Violations: The misuse of judicial processes for improper purposes, such as

                     harassing or harming Dillon-Capps, could fall under this statute. Ohana's repeated filing of

                     fraudulent claims and requests for judicial sanctions with no legitimate basis may violate this

                     statute.


                     22         Extortion (Md. Code Ann., Crim. Law§ 3-701 et seg.)
                     308        Key Violations: If Ohana' s actions or threats-such as their attempts to use false claims

                     to force Dillon-Capps into financial harm, a settlement, or cooperation-were intended to

                     wrongfully obtain money, property, or services, they may have committed extortion. The use of

                     legal threats based on fraudulent premises can constitute extortion if done to obtain an unfair

                     advantage.


                     23         False Pretenses <Md, Code Ann,, Crim, Law § 8-103)
                     309        Key Violations: Ohana Growth Partners may have violated this statute by obtaining court

                     orders or judicial actions under false pretenses. Their fraudulent representations to the court

                     about system access and Dillon-Capps' conduct may fit the legal definition of false pretenses.


                     24         Attempt to Obtain Property by Deception <Md, Code Ann" Crim. Law§ 8-301)
                     310        Key Violations: Ohana' s attempts to extract legal fees, penalties, or settlements from

                     Dillon-Capps based on fraudulent legal claims may qualify as an attempt to obtain property by


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                     deception. If they sought financial compensation or other benefits through deception, this offense

                     would apply.


                     25       Contempt of Court (Inherent Judicial Power)
                     311     Key Violations: Though not necessarily a criminal statute, contempt of court can be

                     pursued if Ohana and its counsel disobeyed court orders, violated procedural rules, or engaged in

                     conduct that undermined the judicial process. This includes failure to comply with discovery

                     obligations, obstructing legal proceedings, or defying court instructions.


                     26       Racketeerin~ <Potential Federal RICO Violation}
                     312      Key Violations: If Ohana' s fraudulent actions and use of the court system represent a

                     broader pattern of unlawful activity, this could potentially fall under the Racketeer Influenced

                     and Corrupt Organizations (RICO) Act (18 U .S.C. § 1961 ). Although typically used in organized

                     crime cases, RICO can apply to businesses or legal entities engaged in an ongoing pattern of

                     fraudulent behavior, including filing meritless lawsuits as part of a scheme to defraud.


                     27       Obstruction of Federal Statutozy Ri~hts (18 u,s,c. § 245)
                     313      Key Violations: Ohana' s retaliation and obstruction of Dillon-Capps' rights under federal

                     laws like the FMLA and potentially the Americans with Disabilities Act (ADA) could be seen as

                     an obstruction of federally protected rights, triggering criminal liability under this statute.


                     28       Civil Ri~hts Violations (42 u.s,c. § 1983)
                     314      Key Violations: If Ohana, acting under color oflaw, deprived Dillon-Capps of his

                     federally protected rights (such as retaliation for taking FMLA leave), there could be civil rights

                     claims that also involve potential criminal investigations, especially if this conduct was

                     egregious or retaliatory in nature.


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                     29       Intimidation or Coercion to Prevent Testimoro: <Md, Code Ann,, Crim, Law § 9-
                     l{U)
                     315      Key Violations: If there was any attempt to intimidate, coerce, or otherwise interfere

                     with witnesses, including attempts to prevent testimony or cooperation with legal proceedings,

                     this could qualify as a criminal offense under Maryland law.


                     30       Intentionally Withholdin~ or Destroyin~ Evidence (Spoliation of Evidence)
                     316      Key Violations: If Ohana or their counsel deliberately withheld or destroyed critical

                     evidence, including emails, transcripts, or documents relevant to the discovery process, this

                     could be pursued as evidence tampering or spoliation of evidence, which may have criminal

                     implications.


                     31      Malicious Use of Process <Md, Code Ann,, Crim, Law § 9-306)
                     317      Key Violations: Ohana's intent in filing this lawsuit appears to be based on retaliation,

                     fraud, and harassment rather than a legitimate claim. Maryland recognizes malicious use oflegal

                     process when a party knowingly uses legal proceedings for improper purposes, causing harm to

                     another party.


                     32       Civil Conspiracy
                     318      Key Violations: While this is often a civil claim, Ohana Growth Partners and their

                     counsel, Miles & Stockbridge, could be liable for civil conspiracy if they worked together to

                     commit wrongful acts such as perjury, fraud, or witness tampering. This could also be the basis

                     for sanctions or disqualification of counsel. Criminal conspiracy (addressed earlier) could be

                     pursued if criminal intent is proven, but the civil counterpart reinforces the coordinated effort to

                     abuse legal proceedings.



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                     33       Fraudulent Inducement
                     319      Key Violations: If Ohana Growth Partners induced Dillon-Capps or third parties into

                     agreements, settlements, or actions based on fraudulent claims or misrepresentations, this could

                     constitute fraudulent inducement. This may apply to any contracts or negotiations affected by

                     their false representations.


                     34       Failure to Maintain Proper Recordkeepin~ fPCI            pss Violations)
                     320      Key Violations: If Ohana violated PCI DSS standards, particularly by failing to maintain

                     proper access logs, audit trails, or other records, they may be in violation of federal and state data

                     security laws. This can have serious legal consequences, especially in cases involving consumer

                     data protection, where breaches of standards can lead to both civil and criminal penalties.


                     35       Violation of Federal Trade Commission <FTC) Re~ulations
                     321      Key Violations: The Federal Trade Commission enforces regulations concerning

                     deceptive business practices and data security. If Ohana's actions involved deceptive practices

                     related to system access or customer data security (such as non-compliance with PCI DSS), they

                     could face enforcement under FTC laws, including fines and possible referral for criminal

                     prosecution depending on the scope of the misconduct.


                     36       Antitrust Violations <Potential Market Manipulation)
                     322      Key Violations: If Ohana' s litigation or other actions were part of an attempt to

                     undermine Dillon-Capps' business operations or manipulate market conditions (e.g., by

                     disrupting competitors through litigation abuse), antitrust laws could be implicated . While this

                     would require evidence of broader anti-competitive behavior, it is worth considering if their

                     actions had any market-related motivations. Glenn Norris, Justin Drummond, and Richard


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                     Hartman had first hand knowledge of my business and it' s intentions as they were given an

                     opportunity to benefit from a reduced version of one of the solutions custom built for them.


                     37      Unauthorized Practice of Law <Md, Code Ann,, Bus, 0cc. & Prof.§ 10-601)
                     323      Key Violations: If any of Ohana' s representatives, not licensed to practice law, gave

                     legal advice, submitted filings, or otherwise engaged in legal activities, this would constitute the

                     unauthorized practice oflaw. This could be relevant if non-attorney employees of Ohana

                     improperly took on legal roles during the proceedings.


                     38      Breach of Fiduciazy Duty
                     324      Key Violations: If Ohana' s leadership, such as Richard Hartman or Justin Drummond,

                     owed fiduciary duties to Dillon-Capps in any prior professional capacity, and their actions

                     violated those duties (e.g., by filing fraudulent claims or manipulating business dealings), this

                     could form the basis for both civil and criminal liability. Breaches of fiduciary duty often tie into

                     fraud and misrepresentation claims.


                     39      Retaliatozy Discharie or Employment Discrimination
                     325      Key Violations: Beyond FMLA retaliation, if Dillon-Capps was terminated or

                     discriminated against in other ways due to his exercise of legal rights (such as whistleblowing or

                     filing workplace complaints), this could constitute retaliatory discharge or employment

                     discrimination under state or federal laws like the Americans with Disabilities Act (ADA) or

                     Title VII of the Civil Rights Act.


                     40       Federal Wire Fraud 08 U,S.C. § 1343)
                     326      Key Violations: If any fraudulent communications were transmitted across state lines via

                     electronic means (e.g., emails, phone calls, or digital filings), this could potentially rise to the


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                     level of federal wire fraud. Given the nature of modem litigation and communication, wire fraud

                     is a possible avenue for federal investigation.


                     41      Mail Fraud (18 u.s.c. § 1341)
                     327     Key Violations: If any fraudulent materials were sent through the U.S. Postal Service or

                     other mail carriers, this could fall under federal mail fraud statutes. Misleading court filings,

                     notices, or other fraudulent communications sent by mail could trigger federal criminal charges.


                     42      Unlawful Retention of PropeftY
                     328     Key Violations: If Ohana Growth Partners improperly retained any of Dillon-Capps'

                     property or assets through fraudulent means, this could amount to theft by deception or

                     conversion. This might involve company property, intellectual property, or financial assets

                     wrongfully withheld.


                     43      Consumer Protection Violations (Md. Code Ann., Com. Law§§ 13-101 et seg.)
                     329     Key Violations: If Ohana's actions involved deceptive practices that harmed consumers

                     or third parties, such as false claims about their compliance with industry standards or

                     misrepresentations about their legal standing, Maryland ' s consumer protection laws could be

                     implicated.


                     44      Ethical Violations for Attorneys CABA Model Rules of Professional Conduct}
                     Key Violations: Miles & Stockbridge, as legal counsel, may face professional discipline for

                     violating ethical rules, including engaging in fraudulent litigation, failing to disclose material

                     facts, and obstructing justice. These violations may result in disbarment, suspension, or other

                     disciplinary actions. The rules implicated include:

                              1.      Rule 3.3: Candor toward the tribunal


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                               2.     Rule 3.4: Fairness to opposing party and counsel

                               3.     Rule 4.1: Truthfulness in statements to others


                     45        Fraudulent Liti~ation as an On~oin~ Entex:prise <Potential State RICO Char~es)
                     330       Key Violations: If there is evidence that Ohana' s fraudulent litigation is part of a larger

                     pattern of illegal activity, such as using 1itigation to extract settlements or financial gain from

                     multiple parties, state-level RICO (Racketeer Influenced and Corrupt Organizations Act) charges

                     may be applicable. These charges could apply if Ohana engaged in a pattern of fraudulent

                     lawsuits to achieve business gains.


                     REMINDER OF THIS CAUTIONARY TALE
                     331       The breadth of potential criminal and civil violations highlights the serious legal and

                     ethical breaches committed by Ohana Growth Partners, LLC, and their counsel, Miles &

                     Stockbridge, including perjury, fraud, conspiracy, retaliation, and abuse oflegal processes. A

                     thorough criminal investigation could uncover even more misconduct, especially if these actions

                     are indicative of a broader, systemic pattern of fraudulent activity. Furthermore, Miles &

                     Stockbridge, particularly Holly Drumheller Butler, Robert Brennen, and Steven Frenkil, may

                     face significant professional repercussions for their active role in facilitating these fraudulent

                     claims.

                     332       As I previously stated regarding Onsite Solutions, Inc., the facts and evidence presented

                     to Ohana, and M&S were not circumstantial they were verified with a confession in writing.

                     Holly Drumheller Butler, from Miles & Stockbridge, PC, was tasked with conducting a fraud

                     investigation but instead used it as a pretext to assist Ohana Growth Partners in fabricating a




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                     fraudulent basis for terminating Ryan Dillon-Capps. This lawsuit emerged as a desperate attempt

                     to cover up their missteps.

                     333     To date, no proper investigation into the true nature of Ohana' s misconduct has been

                     conducted. The actions of both the Plaintiff and the law firm compel further inquiry to determ ine

                     whether their conduct reflects the standard operating procedure or if it reveals deeper, more

                     pervasive wrongdoing.




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                                                    RESPECTFULLY SUBMJTTED
                          October 23, 2024                                           /s/ Ryan Dillon-Capps
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                                                                CERTIFICA1E OF SERVICE

                      I HEREBY CERTIFY that on October 23, 2024, a copy of Reply to Opposition to Defendant's

                      Motion for Expedited Discovery via email to rbrennen@milesstockbridge.com and served on via

                      first-class mail, postage prepaid on:



                                   Robert S. Brennen
                                   Miles & Stockbridge P.C.
                                   100 Light Street
                                   Baltimore, Maryland 21202



                                                                                     ls/Ryan Dillon-Capps
                                                                                     Ryan Dillon-Capps (Pro Se)




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